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               EXHIBIT 1
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                             Expert Report of Homer Venters, M.D., M.S.
         Romero-Lorenzo et al. v. Koehn et al., No. 2:20-cv-00901-DJH-DMF (D. Ariz.)


Introduction and qualifications

1.       I have been retained by plaintiffs’ counsel in the case of Romero-Lorenzo et al. v. Koehn

         et al., No. 2:20-cv-00901-DJH-DMF. I have been asked to assess the adequacy of the

         COVID-19 response in the portion of the Central Arizona Florence Correctional

         Complex housing people in the custody of the U.S. Marshals Service (“CAFCC”).1

2.       I am a physician, internist, and epidemiologist with over a decade of experience in

         providing, improving, and leading health services for incarcerated people. My clinical

         training includes residency training in internal medicine at Albert Einstein/Montefiore

         Medical Center (2007) and a fellowship in public health research at the New York

         University School of Medicine (2009). My experience in correctional health includes two

         years visiting immigration detention centers and conducting analyses of physical and

         mental health policies and procedures for persons detained by the U.S. Department of

         Homeland Security. This work resulted in collaboration with U.S. Immigration and

         Customs Enforcement (“ICE”) on numerous individual cases of medical release, the

         formulation of health-related policies, as well as providing testimony before the U.S.

         Congress regarding mortality inside ICE detention facilities.

3.       After my fellowship training, I became the Deputy Medical Director of the Correctional

         Health Services of New York City. This position included both direct care to persons

         held in New York City’s 12 jails, as well as oversight of medical policies for their care.

1
 Throughout this report, I use “CAFCC” to refer to the portion of the facility holding detained people for the U.S.
Marshals Service, excluding the portions of the facility that hold detained people for other agencies.
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       This role included oversight of chronic care, sick call, specialty referral, and emergency

       care. I subsequently was promoted to the positions of Medical Director, Assistant

       Commissioner, and Chief Medical Officer. In the latter two roles, I was responsible for

       all aspects of health services to detained people, including physical and mental health,

       addiction, quality improvement, re-entry and morbidity and mortality reviews, as well as

       all training and oversight of physicians, nursing and pharmacy staff. In these roles, I was

       also responsible for evaluating and making recommendations on the health implications

       of numerous security policies and practices including use of force and restraints. During

       this time, I managed multiple communicable disease outbreaks including H1N1 in 2009,

       which impacted almost one-third of housing areas inside the adolescent jail, multiple

       seasonal influenza outbreaks, a recurrent legionella infection and several other smaller

       outbreaks. These efforts also included coordination of all health policies and protocols for

       outbreak response with security officials, training and orientation of security staff and

       implementation of large-scale vaccination programs for seasonal influenza and H1N1.

4.     In March 2017, I left Correctional Health Services of New York City to become the

       Director of Programs for Physicians for Human Rights. In this role, I oversaw all

       programs of Physicians for Human Rights, including training of physicians, judges and

       law enforcement staff on forensic evaluation and documentation, analysis of mass graves

       and mass atrocities, documentation of torture and sexual violence, and analysis of attacks

       against healthcare workers.

5.     Between December 2018 and April 2020, I served as the Senior Health Fellow and

       President of Community Oriented Correctional Health Services (“COCHS”), a nonprofit

       organization that promotes evidence-based improvements to correctional practices across



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       the United States. I have also worked as a medical expert in cases involving correctional

       health since 2017 and I wrote and published a book on the health risks of jail, Life and

       Death in Rikers Island, which was published in early 2019 by Johns Hopkins University

       Press. I hold an appointment as a Clinical Associate Professor in the NYU College of

       Global Public Health.

6.     Since April 2020, I have worked on COVID-19 responses in detention settings. During

       this time, I have conducted inspections of numerous federal, state and local detention

       facilities to assess the adequacy of their COVID-19 responses, to date including:


          MDC Brooklyn (BOP), NY
          MCC Manhattan (BOP), NY
          FCI Danbury (BOP), CT
          Cook County Jail, IL
          Broome County Jail, IL
          Sullivan County Jail, NY
          Shelby County Jail, TN
          Farmville Detention Center (ICE), VA
          Lompoc Prison (BOP), CA
          Southern Mississippi Correctional Facility, MS
          Central Mississippi Correctional Facility, MS
          FDC Philadelphia (BOP), PA
          Osborn Correctional Institution, CT
          Robinson Correctional Institution, CT
          Hartford Correctional Center, CT
          Dallas County Jail, TX
          Cheshire Correctional Institution, CT
          Calhoun County Jail, MI
          York Correctional Institution, CT
          Pender Correctional Institution, NC
          Craven Correctional Institution, NC
          Central Prison, NC
          North Carolina Correctional Institution for Women, NC
          Chesapeake Detention Facility, MD
          Chesapeake Detention Facility Reinspection, MD
          Lompoc Prison Re-inspection (BOP), CA
          Broward County Jail, FL
          Maricopa County Jail, AZ
          Northeast Florida State Hospital, FL

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           Florida State Hospital, FL
           Western Regional Jail, WV
           Northern Regional Jail, WV
           Tygart Regional Jail, WV
           Women’s Community Correctional Center, HI
           Halawa Correctional Facility, HI
           Oahu Community Correctional Center, HI
           Maui Community Correctional Center, HI
           Kauai Community Correctional Center, HI
           Clayton County Jail, GA
           Cummins Unit Prison, AR
           Varner Unit Prison, AR
           Ouachita Unit Prison, AR
           East Arkansas Regional Unit, AR
           Lompoc Prison Re-inspection (BOP), CA


7.      I have been named as an independent monitor for COVID-19 response in Connecticut and

        Hawaii State Prisons and have been invited to present COVID-19 guidance to several

        organizations including the National Academy of Sciences on three occasions as well as

        the National Association of Counties and the American Medical Association. I have also

        been named as independent health services monitor for the Santa Barbara, CA county jail,

        the Fluvanna Women’s Correctional Institution in Virginia, and the VI Department of

        Corrections.

8.      I also was named by President Biden to serve on the COVID-19 Health Equity Task force

        and served on that task force through the issuance of its final report and recommendations

        in October 2021.2

9.      A copy of my curriculum vitae is attached to this report, which includes my publications,

        as well as a list of recent depositions I have given and testimony I have provided.




2
  https://www.whitehouse.gov/briefing-room/press-briefings/2021/02/10/president-biden-announces-members-of-
the-biden-harris-administration-covid-19-health-equity-task-force/

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10.     The COVID-19 pandemic has caused at least 588,574 documented cases of infection in

        U.S. prisons, jails, and immigration facilities and at least 3,039 deaths.3 These counts of

        cases and deaths is likely a significant undercount.4

11.     CAFCC does not publicly report data on positive tests for COVID-19. However, over the

        course of the COVID-19 pandemic, the U.S. Marshals Portion of CAFCC has reported two

        deaths of detained people as a result of COVID-19.5 This count of two deaths may

        understate the true number of people who died as a result of COVID.6

12.     There remains a significant need to implement life-saving measures to guard against

        COVID-19 infection in jails and prisons. Fortunately, the pool of people who are at risk of

        serious illness or death now appears somewhat smaller than prior waves, with risk factors

        for hospitalization and death relating to prior health problems or not being vaccinated. The

        CDC has identified that most of the people currently hospitalized with Omicron-variant-

        COVID-19 have multiple of these risk factors, including existing health conditions and

        lack of current vaccination.7

13.     The world will likely see new, highly transmissible variants of COVID-19. Even if these

        variants are generally less deadly than other variants such as the Delta variant, the

        incredibly high rate at which cases occurred during the wave of the Omicron variant

        overwhelmed health systems, public education, and correctional settings across the nation,

        suggesting that something similar or worse is likely to occur when the next variant arrives.

        In detention facilities, the multiple waves of COVID-19 infections in surrounding



3
  https://uclacovidbehindbars.org/.
4
  https://www.nytimes.com/2021/07/07/us/inmates-incarcerated-covid-deaths.html.
5
  Rose Deposition, 116:13-16, Ex. 4 at CORECIVIC-MLG003489.
6
  E.g., Jaramillo Deposition, 180:16-22.
7
  https://www.cdc.gov/mmwr/volumes/71/wr/mm7101a4.htm;
https://www.cdc.gov/mmwr/volumes/71/wr/mm7105e1.htm.

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        communities have led to much more prolonged and intermittent outbreaks behind bars. As

        a result, facilities that elude an initial wave of cases are subject to experiencing serious

        outbreaks weeks or months after the community rates decline. In addition, detention

        facilities have been hampered by extremely low rates of COVID-19 vaccination among

        security staff, which creates a reservoir of potential new cases. This problem is exacerbated

        when detention facilities lack the ability or practice to identify people who are at high risk

        of serious illness or death from these infections. Prospectively, we must anticipate too that

        many people will suffer from “Long Covid,” meaning that they will be left with debilitating

        symptoms for months, if not years. While this represents 10-30% of people who are

        infected, these post-COVID-19 symptoms represent new chronic health problems and HHS

        has also identified a new category of disability from post-COVID-19 illness.8

14.     Omicron poses an especially high risk of severe illness or death for those who fall into

        certain high-risk categories, including age, body-mass index, and serious medical

        conditions that include cancer and heart disease.9 Being unvaccinated significantly

        increases the risk of infection and, ultimately, death.10 But the recent communication from

        the CDC that most patients hospitalized with COVID-19 have multiple of these risk factors

        allows for targeted efforts on a smaller cohort to be identified, monitored, and afforded

        every opportunity to be vaccinated and boosted: people with two or more risk factors of

        serious illness or death.




8
  https://www.hhs.gov/civil-rights/for-providers/civil-rights-covid19/guidance-long-covid-disability/index.html
9
  https://www.cdc.gov/mmwr/volumes/71/wr/mm7101a4.htm.
10
   https://www.cdc.gov/mmwr/volumes/71/wr/mm7105e1.htm.

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Methodology

15.        The goal of my review of the COVID-19 practices and procedures at CAFCC was to assess

           the adequacy of the facility’s current response to COVID-19. In order to achieve this goal,

           I relied on three basic questions:

               a. Does the facility adequately identify and respond to individual cases of COVID-

                   19?

               b. Does the facility adequately implement vaccination, infection control, social

                   distancing, and other measures to slow the spread of the virus?

               c. Does the facility adequately identify and protect high-risk patients?

16.        These questions are interrelated in that all three domains are essential to an adequate

           COVID-19 response and they rely upon one another to be effective. Adequacy is

           determined using guidelines of the Centers for Disease Control and Prevention (the

           “CDC”) relating to COVID-19 in detention settings, which contain a set of basic

           protections that serve as a floor for what I would consider to be medical best practices in

           any facility, as well as basic correctional health standards.11 I also utilized policies and

           practices reported and/or produced by CAFCC to assess adequacy. I also relied on

           questions posed to staff and detained people in depositions and an inspection in order to

           elicit their understanding of the policies in place and whether/how they are being

           implemented. The adequacy of CAFCC’s response to COVID-19 is presented below in

           “Findings” which includes strengths, deficiencies and recommendations.

17.        An attorney for Plaintiffs and Dr. Todd Wilcox, medical director of the Salt Lake County

           Jail System, conducted an inspection of CAFCC with facility leadership as well as



11
     https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/index.html.

                                                        7
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          attorneys for Defendants on September 2, 2021. I have spoken with that attorney for

          Plaintiffs, Jared Keenan. During the inspection, Mr. Keenan was able to speak with a

          number of detained people and was also able to ask some questions of the warden of the

          facility, Warden Kline.

18.       I understand that during the inspection, staff did not block or impede access to any part of

          the facility that was included in the inspection protocol and were helpful in orienting Mr.

          Keenan to the overall layout and operations of the facility.

19.       I have also considered and relied on certain documents and deposition transcripts provided

          to me by plaintiffs’ counsel, including:

         Deposition of Kristyn Jaramillo, February 4, 2022, and exhibits
         Deposition of Carrie Rose, February 2, 2022, and exhibits
         30(b)(6) Deposition of Warden Kline, November 9, 2021, and exhibits
         30(b)(6) Deposition of Chief Marshal Bayless, November 15, 2021, and exhibits12

I have also considered and relied on certain documents publicly available on the internet,
including:

         https://uclacovidbehindbars.org/
         https://www.nytimes.com/2021/07/07/us/inmates-incarcerated-covid-deaths.html
         https://www.cdc.gov/mmwr/volumes/71/wr/mm7101a4.htm
         https://www.cdc.gov/mmwr/volumes/71/wr/mm7105e1.htm
         https://www.hhs.gov/civil-rights/for-providers/civil-rights-covid19/guidance-long-covid-
          disability/index.html
         https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/index.html
         https://www.cdc.gov/media/releases/2021/s1216-covid-19-vaccines.html
         https://www.cdc.gov/mmwr/volumes/70/wr/mm7038e1.htm
         https://amend.us/covid/
         https://www.mdcalc.com/veterans-health-administration-covid-19-vaco-index-covid-19-
          mortality
         https://www.bop.gov/foia/docs/COVID_pandemic_plan_docs_v6_2021_07_16.pdf




12
  I understand that plaintiffs’ counsel is receiving reports from detained people at the facility and additional
discovery documents, which may shed further light on the issues I discuss in this report. I reserve the right to update
my opinions based on new information.

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Findings and Recommendations

20.      This section includes findings of strengths and deficiencies, as well as recommendations

         to reduce the potential for morbidity and mortality among staff and detained people from

         COVID-19 at CAFCC.

Strengths

21.      It appears that CAFCC has made efforts to procure COVID-19 vaccines and make them

         available to some detained people. This approach appears to include offering the Johnson

         & Johnson vaccine widely, and in certain limited circumstances, also the Moderna vaccine.

22.      CAFCC has recently implemented an incentive program to increase vaccine uptake, which

         is a good strategy to improve general vaccination rates and uptake among young and

         healthy people.13

23.      CAFCC appears to offer COVID-19 testing to at least some detained people before their

         release as well as upon intake, and in limited circumstances in response to new cases of

         COVID-19.14

24.      CAFCC appears to screen staff and visitors entering the facility on a daily basis for

         COVID-19 symptoms and elevated temperature.15

25.      CAFCC has conducted a series of town halls in the facility housing areas to present

         COVID-19 vaccination information, which generally are separate from the actual

         vaccination visits.16




13
   Rose Deposition, 183:19-25.
14
   Rose Deposition, 104:2-105:5.
15
   Jaramillo Deposition, 161:6-15.
16
   Jaramillo Deposition, 115:12-15.

                                                 9
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26.      An intake quarantine process (referred to cohorting by the facility) appears to be in place,

         as does a standard approach to medical isolation for suspected and newly identified cases

         of COVID-19.

27.      Although several of these processes are inconsistent with basic CDC guidance in how they

         have been implemented, as I detail below, the presence of each of these systems is

         important to limiting morbidity and mortality from COVID-19. Several other core systems

         identified by the CDC for COVID-19 response in detention settings appear to be lacking

         altogether or more seriously flawed.

Deficiencies and Recommendations

28.      Detained Person Vaccinations and Boosters. CAFCC offers detained people the

         vaccine during their first 14 days at the facility.17 As mentioned above, CAFCC

         appears to have made efforts to procure COVID-19 vaccines and to have a generally

         adequate supply of both the Moderna and Johnson & Johnson vaccines.

29.      CAFCC is not aware what the vaccination rate among detained people is, apparently

         because they have failed to implement a system that reliably checks vaccination status

         for every newly detained person.18 As a result, they appear aware of the vaccines they

         have given, but unaware of whether, which type or how many doses other people have

         received prior to detention. As of February 2, 2022, 24% of detained people who were

         currently at CAFCC were vaccinated by CAFCC staff.19 Additional detained people

         may have already been vaccinated on arrival at CAFCC. CAFCC medical staff ask

         during intake whether detained people have already been vaccinated before arriving



17
   Jaramillo Deposition, 84:10-20.
18
   Rose Deposition, 157:22-158:13.
19
   Rose Deposition, 157:18-21.

                                                 10
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         at CAFCC and enter this information into detained people’ medical charts.20

         However, CAFCC does not track this percentage.21 Based on this incomplete

         information, the vaccination rates at CAFCC appear relatively low. These low rates

         suggest that CAFCC can take steps to improve uptake. Knowing the vaccination

         status of all detained people is essential to providing booster shots as well as knowing

         who is at elevated risk from subsequent infection. In addition, the most CDC

         recommendations concerning quarantine for newly admitted detained people (which

         CAFCC refers to as its intake cohort process) require knowing vaccination status at

         intake.22

30.      CAFCC provides detained people limited information about the vaccines it offers. It

         provides detained people with the information sheets prepared by the vaccines’

         manufacturers.23 It also posts a document with some limited information about how

         and when vaccines and boosters may be requested.24 CAFCC health staff intended the

         most up-to-date version of this document to be posted in all housing units.25 However,

         images that Plaintiffs’ attorneys tell me CAFCC produced in November of 2021 as

         part of this litigation show that some units have posted an out-of-date version of this

         document that do not include any references to boosters, and that other units do not

         have posted any version of this document.26 CAFCC has not worked with community




20
   Rose Deposition, 157:22-158:9.
21
   Rose Deposition, 158:4-13.
22
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/index.html
23
   Rose Deposition, 29:3-18, Ex. 1 at CORECIVIC-MLG000738-64.
24
   Rose Deposition, 166:20-167:2, Ex. 10.
25
   Rose Deposition, 167:18-20.
26
   Rose Deposition, Ex. 6, 178:2-7.

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         groups, faith leaders, or formerly incarcerated people to promote vaccination among

         detained people.27

31.      CAFCC is relying almost entirely on the Johnson & Johnson vaccine for primary

         doses, and relying entirely on Moderna for booster doses, with no supply of the Pfizer

         vaccine.28 Detained people can specifically request the Moderna vaccine, but they are

         not informed of this fact.29 Even if detained people do request the Moderna vaccine,

         it may not be provided to them if not enough people request it to use a complete vial.30

         CAFCC received some guidance in the past from the Pinal County Health Department

         to rely on the Johnson & Johnson vaccine for primary doses.31 This advice might have

         been appropriate based on the understanding we had of the science at some

         significantly earlier part of the pandemic, but it is seriously flawed now based on

         developments since vaccines first became available. For example, the CDC has now

         indicated a clinical preference in favor of the mRNA vaccines over the Johnson &

         Johnson vaccine.32 This is because of lower efficacy, antibody levels that wane more

         quickly, and potential side effects that, although rare, do not appear to occur in people

         who have received the mRNA vaccines.33 In an era of abundant supply, CAFCC

         should use the mRNA vaccines that we now know provide significantly more

         protection, particularly against the latest variants. CAFCC can also expect uptake

         among detained people to be lower if it primarily offers the Johnson & Johnson



27
   November 9, 2021 Kline Deposition, 80:17-81:7.
28
   Rose Deposition, 24:17-25.
29
   Conversation with J. Keenan. Additionally, Rose Deposition, Ex. 10, makes no mention of detained people being
able to choose which vaccine to request.
30
   Rose Deposition, 25:16-26:5.
31
   Rose Deposition, 25:2-14.
32
   https://www.cdc.gov/media/releases/2021/s1216-covid-19-vaccines.html.
33
   Id.; see also https://www.cdc.gov/mmwr/volumes/70/wr/mm7038e1.htm.

                                                       12
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         vaccine because some people who would accept the Moderna vaccine choose not to

         accept the inferior Johnson & Johnson vaccine. I generally disagree with this choice

         because any vaccine is better than no vaccine, but conversations with detained people

         during the facility tour confirmed that many people have chosen not to get vaccinated

         because they do not want to receive the Johnson & Johnson vaccine.34

32.      CAFCC provides booster shots to detained people only by request.35 Even if a

         detained person is eligible for a booster when they arrive at the facility, CAFCC

         medical staff does not inform that detained person as part of the intake process that

         they are eligible.36 CAFCC does not have a notation or reminder in its electronic

         medical records system of to the date that a detained person is eligible for a booster.37

         CAFCC has produced a poster indicating that detained people can request a booster

         by filling out a medical health request that “includes the name of the COVID 19

         vaccine & the date you last received your vaccine.”38 This poster instructs detained

         people to request a booster “6 months from your last dose” for “Moderna vaccines.”39

         This information is incorrect; the CDC recommends boosters starting five months

         after the final dose of an initial course of a Moderna vaccine.40 This poster does not

         include any information about booster eligibility or the request process for detained

         people who received an initial course of the Pfizer vaccine.41 This poster is further


34
   Conversation with J. Keenan.; November 9, 2021 Kline Deposition, Ex. R.
35
   Rose Deposition, 154:5-18.
36
   Jaramillo Deposition, 104:13-20; Kline Nov. 9, 2021 Deposition, 37:3-7.
37
   Rose Deposition, 154:5-18.
38
   Rose Deposition, Ex. 10.
39
   Rose Deposition, Ex. 10.
40
   Ms. Rose testified that she would update this document to correct this mistake. See Rose Deposition, 190:3-5.
Two days later, Ms. Jaramillo testified that the document had been updated within the preceding days to correct this
mistake. Jaramillo Deposition, 69:5-22. Plaintiffs’ attorneys inform me that no updated version of this document has
been produced, and that no pictures have been produced of bulletin boards produced indicating that it is posted.
41
   Rose Deposition, 190:6-11, Ex. 10.

                                                        13
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           problematic because it puts the burden on detained people to remember the vaccine

           that they received and the date on which they received it, even though detained people

           often lack access to their medical records predating their detention. This information

           for many detained people is available to CAFCC, either because it administered the

           initial vaccination or because it has access to ASIIS, the state database listing people’s

           vaccination records. Finally, as mentioned above, this poster is problematic because

           many units did not have a version updated with information about boosters or any

           version of the poster at all.

33.        There is no staff member at CAFCC who has been assigned the task of attempting to

           improve vaccination rates among detained people.42 Nor has any staff member at

           CAFCC investigated the reasons why detained people have refused the vaccine.43

34.        Recommendations: Improve vaccination rates overall, with special focus on high-risk

           patients. This includes one on one encounters between health staff and high-risk

           patients as well as town hall or other in person briefings by health staff in housing

           areas to discuss and answer questions about vaccination before the large scale town

           halls occur.

               a. Boosters: CAFCC should track vaccine dates of everyone in the facility (based

                   on a verification of vaccination status in the ASIIS system performed as part

                   of the intake process), and it should affirmatively offer COVID 19 booster

                   shots when people become eligible rather than doing it only upon request.

               b. Expansion of vaccination, symptom screening and testing efforts are required

                   to compensate for challenges in contact tracing.


42
     Rose Deposition, 186:13-17.
43
     Rose Deposition, 186:22-25.

                                                     14
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               c. I recommend that the facility offer all three vaccines to their patients for both

                    initial and primary doses, given the recent preference for the Pfizer and

                    Moderna vaccines identified by the FDA and CDC. This will improve uptake

                    because people who had refused vaccination due to of hesitancy specific to

                    the Johnson & Johnson vaccine would now agree to be vaccinated. This is

                    also important because it will allow people who received an initial dose of the

                    Pfizer vaccine before being booked at the facility to receive a second dose of

                    the same vaccine.

               d. I recommend that CAFCC improve its educational efforts. Written

                    educational materials tend to be more effective in jails and prisons when they

                    are concise and written with an incarcerated audience in mind. AMEND, a

                    project at the University of California at San Francisco, has prepared

                    materials in English and Spanish that were developed with the collaboration

                    of incarcerated and formerly incarcerated people.44 These types of materials

                    would be suitable for CAFCC, and can help increase vaccine uptake in jail

                    and prison settings. CAFCC should also improve its posted materials by

                    ensuring that they contain up-to-date information about how to request

                    vaccines and boosters, and that they are posted uniformly throughout the

                    facility.

35.        Staff Vaccinations and Boosters As of November of 2021, approximately half of the staff

           at CAFCC were vaccinated.45 CoreCivic has had corporate-level discussions about

           providing its staff a monetary incentive to be vaccinated, but it has decided against


44
     https://amend.us/covid/
45
     Nov. 9, 2021 Kline Deposition, 62:4-6.

                                                     15
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         providing this incentive.46 CAFCC also made plans to mandate staff vaccination after an

         Executive Order was issued that would have required it to do so, subject to certain

         exemptions.47 The Executive Order is not in force, however, so those plans have been

         rescinded.

36.      Staff, unlike detained people, regularly enter and exit CAFCC. This means that staff are a

         likely means for introducing COVID-19 into the facility. It is important to ensure that staff

         are vaccinated to limit the risk that they will enter the facility while infected with COVID-

         19.

37.      Recommendations: In my medical and epidemiological opinion, CAFCC should take all

         feasible measures to increase staff vaccination rates. CAFCC had identified plans to

         institute monetary incentives and staff mandates, subject to some potential exemptions.

         CAFCC should take both of these available options to increase staff vaccination rates.

38.      Identification and Protection of High-Risk Patients Earlier in the pandemic, CAFCC kept

         a running list of people at the facility with medical vulnerabilities that placed them at a

         higher risk of significant complications or death from COVID-19.48 It maintained this list

         using its electronic medical recordkeeping system, Allscripts.49 It no longer keeps this list

         because of the burden involved in keeping the list.50

39.      When CAFCC kept its list of medically vulnerable detained people, it used this list to

         provide those people with special protections against COVID-19 infection. As soon as a

         unit went onto quarantine, detained people with medical vulnerabilities in that unit would




46
   Nov. 9, 2021 Kline Deposition, 65:12-19.
47
   Nov. 9, 2021 Kline Deposition, 85:17-22.
48
   Rose Deposition, 135:9-17.
49
   Id.
50
   Id.

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         be provided single cells to allow them to more effectively isolate.51 Now that CAFCC no

         longer keeps its list of medically vulnerable detained people, it no longer provides these

         single cells to medically vulnerable detained people in quarantine units.52 CAFCC also

         does not provide medically vulnerable detained people in quarantined units with

         additional symptom or temperature screenings.53

40.      A list of all medically vulnerable detained people would help CAFCC to better prioritize

         its resources. An even better approach would be for CAFCC to keep a list of detained

         people with multiple medical vulnerabilities, which would correlate to people at

         particularly high risk of serious complications or death if they contract COVID-19. This

         list would indicate people who should be provided special protections and prioritized for

         medical resources, particularly if large numbers of infections among detained people and

         absences among staff in an outbreak require CAFCC to triage cases to which it will

         devote its medical resources. This list would be shorter and could be kept without

         creating a serious burden, particularly given that it can be somewhat automatically

         generated by CAFCC’s electronic medical records system. CAFCC does not keep this

         type of list.54

41.      Despite the ability to identify high-risk people, CAFCC is not using this information to

         take essential steps to prevent their infection, illness, and death from COVID-19. This

         deficiency is extremely dangerous because, as staff become increasingly overwhelmed

         due to a combination of increased COVID infections in the facility and staff shortages, it

         is absolutely essential for them to have the ability to know and follow the patients who


51
   Rose Deposition, 138:11-18.
52
   Id.
53
   Rose Deposition, 138:24-139:10
54
   Rose Deposition, 139:16-21.

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         are at the greatest risk of the worst health outcomes. This approach allows a health

         system overwhelmed with a rapid surge of a highly contagious variant such as Omicron

         or future variants to deal with the dual challenges of high case rates and staff shortages.

         This system can maintain focus on a small number of people as they cycle through new

         admission, general population, or restricted housing, and are potentially placed into

         exposure quarantine and medical isolation. There are several crucial tasks that must be

         prioritized for these patients with multiple risk factors, from vaccination to symptom

         checks during quarantine to enhanced assessments during medical isolation.

42.      Recommendations: Identify all high risk detained people. Because a subset of people in

         detention are known to be at elevated risk of serious complications or death from

         COVID-19, and because their identity is known, health staff should run a weekly list of

         people who meet these CDC criteria and use this information in the following manner:

            a. Review vaccination status of every person at intake (using ASIIS) with priority for

                all high-risk patients and for any who remain unvaccinated or incompletely

                vaccinated (lacking but eligible for a booster). Conduct an in-person counseling

                encounter to answer questions or address concerns to promote vaccination. Many

                high-risk people remain unvaccinated because they have questions or concerns

                that are not addressed in the large-scale housing area town halls and a one-on-

                one session can improve their acceptance, significantly decreasing risk of death

                or illness from COVID-19. It is likely that more than once weekly vaccination

                clinics will be required in the short term.

            b. Conduct a daily vital signs and symptom check (by nursing staff) of each person

                in quarantine, including intake cohorts and exposure quarantine. Detecting



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                 symptoms of COVID-19 in quarantine settings is an essential component of basic

                 CDC guidelines.55 It is especially important that staff observe each high-risk

                 person on a daily basis. I have investigated numerous deaths from COVID-19 in

                 which a high-risk person in quarantine did not respond to having their name

                 called out because they were too ill to walk and they were marked as refusing

                 care or not present when they were in fact deteriorating from COVID-19 illness.

             c. Modify the nursing assessments being conducted for patients with suspected or

                 known COVID-19 to include whether the person is high-risk and modify the

                 action steps (notify providers, consider hospital transfer, etc.) to reflect a lower

                 threshold for these high-risk patients. As the number of symptomatic patients

                 grows, one useful tool for medical providers is a risk assessment tool that goes

                 beyond simply yes/no for high-risk status and stratifies mortality risk based on

                 having multiple risk factors. The Veteran’s Administration has developed such a

                 tool for estimation of 30-day mortality risk from COVID-19 infection.56

             d. Lists of high-risk patients are also essential to estimate the potential need for the

                 oral treatment Paxlovid and other therapies.

43.      Masks Detained people at CAFCC are given two cloth masks.57 If they develop symptoms

         or test positive, they are given a surgical mask to wear instead of their cloth masks.58

         Detained people are not otherwise provided surgical or KN95 masks.

44.      Masks provide the best protection when they fit well. They also provide the best protection

         when they are comfortable to wear, which increases mask use. I have observed that cloth


55
   https://www.cdc.gov/coronavirus/2019-ncov/community/quarantine-duration-correctional-facilities.html
56
   https://www.mdcalc.com/veterans-health-administration-covid-19-vaco-index-covid-19-mortality
57
   Rose Deposition, 130:24-131:6, Jaramillo Deposition, 188:10-19.
58
   Id.

                                                       19
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         masks provided in jails and prisons generally fit quite poorly and uncomfortably.

         Observations during the facility tour corroborate this general observation.59 Surgical masks

         provide a more comfortable and closer fit. Additionally, the CDC has indicated a

         preference for surgical masks over cloth masks because surgical masks provide better

         filtration than cloth masks. The best masks to be provided in a jail or prison are KN95

         masks because they provide a significantly better fit than standard-issue cloth masks and

         surgical masks and they are also more comfortable.

45.      Recommendation: CAFCC should provide all detained people with surgical or KN95

         masks, replaced weekly or when they become dirty or break. When two or more cases have

         been detected among detained people or staff in a 14-day period, KN95 masks should be

         provided for all staff and incarcerated people, as a replacement for surgical masks.

46.      Intake Cohorting CAFCC holds detained people who are new to the facility in

         cohorts, each of which includes all people who entered the facility on the same day.60

         Cohorts are housed together for 14 days.61 Detained people who are new to the facility

         are offered a COVID-19 test as part of the intake process.62

47.      Other than the test at intake, people in intake cohorts are offered COVID-19 tests

         during the cohort period only if they become symptomatic or are sharing a cell with

         someone who has tested positive for COVID-19.63 They are not given daily symptom

         or temperature screenings.64 Instead, they receive these screenings only on the 14th

         day of a cohort period.65


59
   Conversation with J. Keenan.
60
   Rose Deposition, 51:5-7.
61
   Rose Deposition, 51:11-16.
62
   Rose Deposition, 51:17-23.
63
   Rose Deposition, 55:5-11.
64
   Rose Deposition, 54:25-55:4, Jaramillo Deposition, 168:14-16.
65
   Rose Deposition, 57:18-21.

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48.      CDC guidance indicates that best practices are for people who undergo cohorted

         intake quarantines such as those performed at CAFCC to be tested every 3-7 days if

         community transmission is high and to be re-tested at the end of the intake cohort

         period.66

49.      Recommendations: CAFCC should increase the testing it performs in intake cohorts.

         There are a variety of specific timing strategies that could serve to better protect

         against transmission within an intake cohort, but at a minimum CAFCC should offer

         two tests to each person in an intake cohort over the course of the intake cohort

         period. CAFCC should also provide daily symptom checks to people in intake cohorts.

50.      Quarantine At CAFCC, a unit is placed on quarantine if a detained person housed in

         the unit either develops symptoms of COVID-19 or tests positive for COVID-19.67

         When the unit goes on quarantine, the detained person who developed symptoms or

         tested positive (termed the “Index Case”) is removed from the unit to be placed into

         medical isolation and tested.68 That person’s cellmates are then offered tests for

         COVID-19, but no other efforts are made to identify contacts or to offer tests to

         anyone else in the quarantined unit.69

51.      All units at CAFCC consist of individual cells (usually housing multiple detained

         people each) around a dayroom.70 Quarantine units are not kept on any type of

         schedule where people have staggered access to the dayroom to avoid people having

         contact with others in the unit.71 As a result, any detained person in the unit may have


66
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-
detention.html
67
   Rose Deposition, 59:18-23.
68
   Rose Deposition, 65:9-66:7.
69
   Rose Deposition, 74:8-12, 18-25, Jaramillo Deposition, 182:8-11.
70
   Conversation with J. Keenan.
71
   Rose Deposition, 75:13-17.

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         contact with any other detained person in the unit, including with people who are

         considered contacts because they shared a cell with the index case.72 CDC guidance

         recommends that when entire units are quarantined as a cohort, every person in the

         unit be offered a test every 3-7 days.73 This type of serial re-testing is particularly

         important when people in the unit continue to have contact with each other while on

         quarantine status. The Bureau of Prisons policies state clearly that “[b]ecause

         COVID-19 is very contagious and may be spread by asymptomatic as well as

         symptomatic individuals, expanded testing of all inmates in an entire housing unit

         should be considered—especially if the unit has open sleeping areas (rather than cells

         with solid walls and doors) or common areas where inmates have close contact.”74

         This portion of the Bureau of Prisons policies applies equally to CAFCC. Given the

         common and close contact in the day rooms, showers and bathrooms of the housing

         units of CAFCC, this would clearly include all people in a housing area as close

         contact, a standard practice across correctional settings. But CAFCC has chosen to

         ignore this guidance and only interpret cellmates as potential close contacts, and thus

         limit testing of many people who are doubtless exposed to an index case, thereby

         prolonging and increasing transmission.

52.      People in quarantine units are offered symptom and temperature checks daily,

         performed by security (not medical) staff.75




72
   Id.
73
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-
detention.html
74
   https://www.bop.gov/foia/docs/COVID_pandemic_plan_docs_v6_2021_07_16.pdf at 41.
75
   Rose Deposition, 126:18-127:5.

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53.      If a detained person is released while on quarantine, they are not provided with any

         information about the increased transmission risk that they pose or any precautions

         such as isolation that they should take after release.76

54.      Recommendations: As with intake cohorts, CAFCC should increase the testing it

         performs in cohorted quarantine units. Again, a variety of specific timing strategies

         are acceptable, but at a minimum CAFCC should offer two tests to each person in a

         cohorted quarantine unit over the course of the quarantine period, with additional

         testing every 3-7 days if the quarantine period is extended. Detained people released

         from a quarantine unit should be treated as potentially COVID positive on release,

         and accordingly they should be notified that they have potentially been exposed to

         COVID and provided with information about isolation strategies.

55.      Pre-Release Testing CAFCC performs pre-release testing before detained people are

         sent to court or transferred to another facility.77 The purposes of a test like this is to

         clear someone of COVID-19 before they leave the facility to guard against the

         possibility that a detained person who was infected while at the facility could spread

         it elsewhere. However, CAFCC does not perform pre-release testing on detained

         people who are being released to the community.78 The CDC recommends routine

         screening testing on all detained people before transfer or release.79

56.      Recommendation: CAFCC should consider whether it is feasible to provide a routine

         release quarantine to all detained people with known release or transfer dates, consistent




76
   Rose Deposition, 79:2-6.
77
   Rose Deposition, 104:2-22.
78
   Rose Deposition, 105:3-5.
79
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-
detention.html

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         with CDC guidance.80 At a minimum, CAFCC should provide testing to all detained people

         leaving the facility, regardless of whether they are being transferred to court or another

         facility or released to the community.

57.      Contact Tracing CAFCC, as a matter of policy, never conducts contact tracing to determine

         whether a staff member who has tested positive for COVID-19 had any close contacts with

         detained people.81 CAFCC’s policy rests solely on the assumption that staff mask-wearing

         is adequate to prevent the spread of infection.82 This approach is completely inconsistent

         with basic infection control practices as well as the Bureau of Prisons Policy that covers

         contact tracing in the following manner after a new case is identified: “Promptly complete

         a contact investigation with SARS-CoV-2 positive inmates and staff to identify close

         contacts and complete contact tracings to stop transmission or decrease the number of cases

         within the institution. Utilize information from the contact investigation to identify and

         trace all close contacts of the source case(s) 48 hours prior to the source case’s symptom

         onset or testing (if asymptomatic). Close contact is defined as a cumulative exposure time

         > 15 minutes in 24 hours and within < 6 feet of distance.”83 Of note, there is no qualifier

         for mask wearing among either detained people or staff in how a close contact is defined.

         In addition, while CDC data do show improved protection for masked close contacts versus

         unmasked, they also make clear that repetitive exposures are associated with increased risk,

         a circumstance that correctional staff face routinely as they enter and leave the same

         housing areas.84



80
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-
detention.html
81
   Rose Deposition, 60:12-61:3.
82
   Rose Deposition, 62:6-11.
83
   https://www.bop.gov/foia/docs/COVID_pandemic_plan_docs_v6_2021_07_16.pdf at 67.
84
   https://www.cdc.gov/mmwr/volumes/70/wr/mm7036a3.htm

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58.      In a jail or prison setting, many, if not most, index cases occur via staff transmission. This

         is particularly true for index cases that occur outside of the new admission process. Staff

         transmission is so common in jails and prisons because staff regularly enter and exit the

         building, in contrast to detained people who have very little contact with the outside world.

         The CDC recognizes the risks of transmission via staff, and it recommends that, even when

         facilities cannot conduct meaningful contact tracing for all people with confirmed cases of

         COVID-19, they consider all people detained in a particular unit and all staff assigned to

         that unit to be contacts.85

59.      Recommendation: CAFCC should continue to conduct contact-tracing efforts when staff

         members test positive for COVID-19, and it should expand those contact-tracing efforts to

         determine whether the positive staff member had any close contacts with detained people.




         Executed this 25th day of February, 2022 in Port Washington, NY

         Signed,




                   _______________________________
                   Homer Venters, M.D., M.S.




85
  https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-
detention.html

                                                     25
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      EXHIBIT A
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                       Dr. Homer D. Venters
                               hventers@gmail.com,

______________________________________________________                            __
Health Administrator                Physician                    Epidemiologist

                                Professional Profile
o Award winning epidemiologist focused on the intersection of health, criminal justice
  and human rights.
o Leader in provision and improvement of health services to patients with criminal
  justice involvement.
o Successful implementer of nations’ first electronic health record, performance
  dashboards and health information exchange among pre-trial patients.
o Human rights leader with experience using forensic science, epidemiology and public
  health methods to prevent and document human rights abuses.

                             Professional Experience

Medical/Forensic Expert, 3/2016-present
o Independent correctional health monitor
              Fluvanna Women’s Correctional Center, VA (ongoing). Serve as
                  independent, court-appointed health services monitor in a women’s
                  prison.
              Santa Barbara County Jail, CA (ongoing). Serve as independent, court-
                  appointed monitor of health services in a County Jail Complex.
              HI Department of Corrections (COVID-19 only 9/2021-present)
              CT Corrections Department (COVID only, 2020). Oversee and report
                  on the adequacy of COVID-19 responses with other monitoring panel
                  members throughout CT DOC combined jail/prison system.
              VI Department of Corrections (ongoing). Serve as independent, court-
                  appointed monitor of health services in 2 detention facilities.
o U.S. Department of Justice, Civil Rights Investigations medical expert, 2019-present.
  Work with the USDOJ to investigate correctional health conditions and provide
  recommendations for addressing.
o Review COVID-19 policies and procedures in congregate settings including in-person
  inspections of:
              MDC Brooklyn (BOP), NY
              MCC Manhattan (BOP), NY
              FCI Danbury (BOP), CT
              Cook County Jail, IL
              Broome County Jail, NY
              Sullivan County Jail, NY
              Shelby County Jail, TN
              Farmville Detention Center (ICE), VA
              Lompoc Prison (BOP), CA
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                Southern Mississippi Correctional Facility, MS
                Central Mississippi Correctional Facility, MS
                FDC Philadelphia (BOP), PA
                Osborn Correctional Institution, CT
                Robinson Correctional Institution, CT
                Hartford Correctional Center, CT
                Dallas County Jail, TX
                Cheshire Correctional Institution, CT
                Calhoun County Jail, MI
                York Correctional Institution, CT
                Chesapeake Detention Facility Re-inspection, MD
                Pender Correctional Institution, NC
                Craven Correctional Institution, NC
                Central Prison, NC
                North Carolina Correctional Institution for Women, NC
                Chesapeake Detention Facility Re-inspection, MD
                Broward County Jail, FL
                Lompoc Prison Re-inspection (BOP), CA
                Maricopa County Jail, AZ
                Northeast Florida State Hospital, FL
                Florida State Hospital, FL
                Western Regional Jail, WV
                Northern Regional Jail, WV
                Tygart Regional Jail, WV
                Women’s Community Correctional Center, HI
                Halawa Correctional Facility, HI
                Oahu Community Correctional Center, HI
                Maui Community Correctional Center, HI
                Kauai Community Correctional Center, HI
                Clayton County Jail, GA
                Cummins Unit Prison, AR
                Varner Unit Prison, AR
                Ouachita Unit Prison, AR
                East Arkansas Regional Unit, AR


o     Conduct analysis of health services and outcomes in detention settings.
o     Conduct site inspections and evaluations in detention settings.
o     Produce expert reports, testimony regarding detention settings.

Member, Biden-Harris COVID-19 Health Equity Task Force, 2/26/21-10/31/21
             Work with Task Force members to provide President Biden with interim
               recommendations to address COVID-19 Health inequities.
             Work with Task Force and Federal partners to produce final report,
               recommendations and implementation plan for reducing inequities in
               COVID-19 and other pandemic responses.
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President, Community Oriented Correctional Health Services (COCHS), 1/1/2020-
4/30/20.
o      Lead COCHS efforts to provide technical assistance, policy guidance and
research regarding correctional health and justice reform.
o      Oversee operations and programmatic development of COCHS
o      Serve as primary liaison between COCHS board, funders, staff and partners.

Senior Health and Justice Fellow, Community Oriented Correctional Health Services
(COCHS), 12/1/18-12/31/2018
o       Lead COCHS efforts to expand Medicaid waivers for funding of care for detained
persons relating to Substance Use and Hepatitis C.
o       Develop and implement COCHS strategy for promoting non-profit models of
diversion and correctional health care.

Director of Programs, Physicians for Human Rights, 3/16-11/18.
o      Lead medical forensic documentation efforts of mass crimes against Rohingya
and Yazidi people.
o      Initiate vicarious trauma program.
o      Expand forensic documentation of mass killings and war crimes.
o      Develop and support sexual violence capacity development with physicians,
nurses and judges.
o      Expand documentation of attacks against health staff and facilities in Syria and
Yemen.

Chief Medical Officer/Assistant Vice President, Correctional Health Services, NYC
Health and Hospitals Corporation 8/15-3/17.
o       Transitioned entire clinical service (1,400 staff) from a for-profit staffing
company model to a new division within NYC H + H.
o       Developed new models of mental health and substance abuse care that
significantly lowered morbidity and other adverse events.
o       Connected patients to local health systems, DSRIP and health homes using
approximately $5 million in external funding (grants available on request).
o       Reduced overall mortality in the nation’s second largest jail system.
o       Increased operating budget from $140 million to $160 million.
o       Implemented nation’s first patient experience, provider engagement and racial
disparities programs for correctional health.

Assistant Commissioner, Correctional Health Services, New York Department of
Health and Mental Hygiene, 6/11-8/15.
o      Implemented nation’s first electronic medical record and health information
exchange for 1,400 staff and 75,000 patients in a jail.
o      Developed bilateral agreements and programs with local health homes to identify
incarcerated patients and coordinate care.
o      Increased operating budget of health service from $115 million to $140 million.
o      Established surveillance systems for injuries, sexual assault and mental health that
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drove new program development and received American Public Health Association Paper
of the Year 2014.
o       Personally care for and reported on over 100 patients injured during violent
encounters with jail security staff.


Medical Director, Correctional Health Services, New York Department of Health and
Mental Hygiene, 1/10-6/11.
o       Directed all aspects of medical care for 75,000 patients annually in 12 jails,
including specialty, dental, primary care and emergency response.
o       Direct all aspects of response to infectious outbreaks of H1N1, Legionella,
Clostridium Difficile.
o       Developed new protocols to identify and report on injuries and sexual assault
among patients.

Deputy Medical Director, Correctional Health Services, New York Department of
Health and Mental Hygiene, 11/08-12/09.
o      Developed training program with Montefiore Social internal medicine residency
program.
o      Directed and delivered health services in 2 jails.

Clinical Attending Physician, Bellevue/NYU Clinic for Survivors of Torture, 10/07-
12/11.


Clinical Attending Physician, Montefiore Medical Center Bronx NY, Adult Medicine,
1/08-11/09.

                              Education and Training
Fellow, Public Health Research, New York University 2007-2009. MS 6/2009
Projects: Health care for detained immigrants, Health Status of African immigrants in
NYC.
Resident, Social Internal Medicine, Montefiore Medical Center/Albert         Einstein
University7/2004- 5/2007.
M.D., University of Illinois, Urbana, 12/2003.
M.S. Biology, University of Illinois, Urbana, 6/03.
B.A. International Relations, Tufts University, Medford, MA, 1989.

                        Academic Appointments, Licensure
Adjunct Clinical Associate Professor, New York University College of Global Public
Health, 5/18-present.

Clinical Instructor, New York University Langone School of Medicine, 2007-2018.

M.D. New York (2007-present).
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Oped: It’s Time to Eliminate the Drunk Tank. The Hill 1/28/20.

Oped: With Kathy Morse. A Visit with my Incarcerated Mother. The Hill 9/24/19.

Oped: With Five Omar Muallim-Ak. The Truth about Suicide Behind Bars is Knowable.
The Hill 8/13/19.

Oped: With Katherine McKenzie. Policymakers, provide adequate health care in prisons
and detention centers. CNN Opinion, 7/18/19.
Oped: Getting serious about preventable deaths and injuries behind bars. The Hill, 7/5/19.

Testimony: Access to Medication Assisted Treatment in Prisons and Jails, New York
State Assembly Committee on Alcoholism and Drug Abuse, Assembly Committee on
Health, and Assembly Committee on Correction. NY, NY, 11/14/18.

Oped: Attacks in Syria and Yemen are turning disease into a weapon of war, STAT News,
7/7/17.

Testimony: Connecticut Advisory Committee to the U.S. Commission on Civil Rights:
Regarding the use of solitary confinement for prisoners. Hartford CT, 2/3/17.

Testimony: Venters HD, New York Advisory Committee to the U.S. Commission on Civil
Rights: Regarding the use of solitary confinement for juveniles in New York. July 10, 2014.
NY NY.

Testimony: New York State Assembly Committee on Correction with the Committee on
Mental Health: Regarding Mental Illness in Correctional Settings. November 13, 2014.
Albany NY.
Testimony: New York State Assembly Committee on Correction with the Committee on
Mental Health: Regarding Mental Illness in Correctional Settings. November 13, 2014.
Albany NY.

Oped: Venters HD and Keller AS, The Health of Immigrant Detainees. Boston Globe,
April 11, 2009.

Testimony: U.S. House of Representatives, House Judiciary Committee’s Subcommittee
on Immigration, Citizenship, Refugees, Border Security, and International Law: Hearing
on Problems with Immigration Detainee Medical Care, June 4, 2008.
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Parmar PK, Leigh J, Venters H, Nelson T. Violence and mortality in the Northern Rakhine State
of Myanmar, 2017: results of a quantitative survey of surviving community leaders in
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Invited presentation, Screening and treatment for sexually transmitted infecitons in
justice. National Academy of Sciences Committee on Law and Justice, remote,
September14th, 2020.

Invited presentation, Vaccination for COVID-19 in correctional settings. National
Academy of Sciences Committee on Law and Justice, remote, August 20th, 2020.

Invited Presentation, Documenting Deaths in Custody, National Association for
Civilian Oversight of Law Enforcement (NACOLE), remote, August 3rd, 2020.

Invited presentation, COVID-19 in correctional settings. Briefing for U.S. Senate Staff,
sponsored by The Sentencing Project, remote, May 29, 2020

Invited presentation, COVID-19 in correctional settings. Briefing for Long Island
Voluntary Organizations Active in Disaster , sponsored by The Health & Welfare
Council of Long Island, remote, May 29, 2020.

Invited presentation, COVID-19 in correctional settings. National Academy of Sciences
Committee on Law and Justice, remote, May 12, 2020.

Invited presentation, COVID-19 in correctional settings. National Association of
Counties, Justice and Public Safety Committee, remote, April 1, 2020.

Keynote Address, Academic Correctional Health Conference, April 2020, Chapel Hill,
North Carolina, postponed.

TedMed Presentation, Correctional Health, Boston MA, March 15, 2020.

Finalist, Prose Award for Literature, Social Sciences category for Life and Death in Rikers
Island, February, 2020.

Keynote Address, John Howard Association Annual Benefit, November 2019, Chicago IL.

Keynote Address, Kentucky Data Forum, Foundation for a Healthy Kentucky, November 2019,
Cincinnati Ohio.
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Oral Presentation, Dual loyalty and other human rights concerns for physicians in jails an
prisons. Association of Correctional Physicians, Annual meeting. 10/16, Las Vegas.

Oral Presentation, Clinical Alternatives to Punitive Segregation: Reducing self-harm for
incarcerated patients with mental illness. American Public Health Association Annual Meeting,
November 2015, Chicago IL.

Oral Presentation, Analysis of Deaths in ICE Custody over 10 Years . American Public Health
Association Annual Meeting, November 2015, Chicago IL.

Oral Presentation, Medication Assisted Therapies for Opioid Dependence in the New York City
Jail System. American Public Health Association Annual Meeting, November 2015, Chicago IL.

Oral Presentation, Pathologizing Normal Human Behavior: Violence and Solitary Confinement
in an Urban Jail. American Public Health Association Annual Meeting, November 2014, New
Orleans, LA.

Training, International Committee of the Red Cross and Red Crescent, Medical Director meeting
10/15, Presentation on Human Rights and dual loyalty in correctional health.

Paper of the Year, American Public Health Association. 2014. (Kaba F, Lewis A, Glowa-
Kollisch S, Hadler J, Lee D, Alper H, Selling D, MacDonald R, Solimo A, Parsons A, Venters H.
Solitary Confinement and Risk of Self-Harm Among Jail Inmates. Amer J Public Health. 2014.
Vol 104(3):442-7.)

Oral Presentation, Pathologizing Normal Human Behavior: Violence and Solitary Confinement
in an Urban Jail. American Public Health Association Annual Meeting, New Orleans LA, 2014.

Oral Presentation, Human rights at Rikers: Dual loyalty among jail health staff. American
Public Health Association Annual Meeting, New Orleans LA, 2014.

Poster Presentation, Mental Health Training for Immigration Judges. American Public Health
Association Annual Meeting, New Orleans LA, 2014.

Distinguished Service Award; Managerial Excellence. Division of Health Care Access and
Improvement, NYC DOHMH. 2013.

Oral Presentation, Solitary confinement in the ICE detention system. American Public Health
Association Annual Meeting, Boston MA, 2013.

Oral Presentation, Self-harm and solitary confinement in the NYC jail system. American Public
Health Association Annual Meeting, Boston MA, 2013.

Oral Presentation, Implementing a human rights practice of medicine inside New York City
jails. American Public Health Association Annual Meeting, Boston MA, 2013.

Poster Presentation, Human Rights on Rikers: integrating a human rights-based framework for
healthcare into NYC’s jail system. American Public Health Association Annual Meeting, Boston
MA, 2013.
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Poster Presentation, Improving correctional health care: health information exchange and the
affordable care act. American Public Health Association Annual Meeting, Boston MA, 2013.

Oral Presentation, Management of Infectious Disease Outbreaks in a Large Jail System.
American Public Health Association Annual Meeting, Washington DC, 2011.

Oral Presentation, Diversion of Patients from Court Ordered Mental Health Treatment to
Immigration Detention. American Public Health Association Annual Meeting, Washington DC,
2011.

Oral Presentation, Initiation of Antiretroviral Therapy for Newly Diagnosed HIV Patients in the
NYC Jail System. American Public Health Association Annual Meeting, Washington DC, 2011.

Oral Presentation, Medical Case Management in Jail Mental Health Units. American Public
Health Association Annual Meeting, Washington DC, 2011.

Oral Presentation, Injury Surveillance in New York City Jails. American Public Health
Association Annual Meeting, Washington DC, 2011.

Oral Presentation, Ensuring Adequate Medical Care for Detained Immigrants. Venters H, Keller
A, American Public Health Association Annual Meeting, Denver, CO, 2010.

Oral Presentation, HIV Testing in NYC Correctional Facilities. Venters H and Jaffer M,
American Public Health Association, Annual Meeting, Denver, CO, 2010.

Oral Presentation, Medical Concerns for Detained Immigrants. Venters H, Keller A, American
Public Health Association Annual Meeting, Philadelphia, PA, November 2009.

Oral Presentation, Growth of Immigration Detention Around the Globe. Venters H, Keller A,
American Public Health Association Annual Meeting, Philadelphia, PA, November 2009.

Oral Presentation, Role of Hospital Ethics Boards in the Care of Immigration Detainees.
Venters H, Keller A, American Public Health Association Annual Meeting, Philadelphia, PA,
November 2009.

Oral Presentation, Health Law and Immigration Detainees. Venters H, Keller A, American
Public Health Association Annual Meeting, Philadelphia, PA, November 2009.

Bro Bono Advocacy Award, Advocacy on behalf of detained immigrants. Legal Aid Society of
New York, October 2009.

Oral Presentation, Deaths of immigrants detained by Immigration and Customs Enforcement.
Venters H, Rasmussen A, Keller A, American Public Health Association Annual Meeting, San
Diego CA, October 2008.

Poster Presentation, Death of a detained immigrant with AIDS after withholding of prophylactic
Dapsone. Venters H, Rasmussen A, Keller A, Society of General Internal Medicine Annual
Meeting, Pittsburgh PA, April 2008.

Poster Presentation, Tuberculosis screening among immigrants in New York City reveals higher
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   rates of positive tuberculosis tests and less health insurance among African immigrants. Society of
   General Internal Medicine Annual Meeting, Pittsburgh PA, April 2008.

   Daniel Leicht Award for Achievement in Social Medicine, Montefiore Medical Center,
   Department of Family and Social Medicine, 2007.

   Poster Presentation, Case Findings of Recent Arestees. Venters H, Deluca J, Drucker E. Society
   of General Internal Medicine Annual Meeting, Toronto Canada, April 2007.

   Poster Presentation, Bringing Primary Care to Legal Aid in the Bronx. Venters H, Deluca J,
   Drucker E. Society of General Internal Medicine Annual Meeting, Los Angeles CA, April 2006.

   Poster Presentation, A Missed Opportunity, Diagnosing Multiple Myeloma in the Elderly
   Hospital Patient. Venters H, Green E., Society of General Internal Medicine Annual Meeting,
   New Orleans LA, April 2005.




                                         Grants: Program
San Diego County: Review of jail best practices (COCHS), 1/2020, $90,000.

Ryan White Part A - Prison Release Services (PRS). From HHS/HRSA to Correctional Health Services
(NYC DOHMH), 3/1/16-2/28/17 (Renewed since 2007). Annual budget $ 2.7 million.

Ryan White Part A - Early Intervention Services- Priority Population Testing. From HHS/HRSA to
Correctional Health Services (NYC DOHMH), 3/1/16-2/28/18 (Renewed since 2013). Annual budget
$250,000.

Comprehensive HIV Prevention. From HHS to Correctional Health Services (NYC DOHMH), 1/1/16-
12/31/16. Annual budget $500,000.


HIV/AIDS Initiative for Minority Men. From HHS Office of Minority Health to Correctional Health
Services (NYC DOHMH), 9/30/14-8/31/17. Annual budget $375,000.

SPNS Workforce Initiative, From HRSA SPNS to Correctional Health Services (NYC DOHMH), 8/1/14-
7/31/18. Annual budget $280,000.

SPNS Culturally Appropriate Interventions. From HRSA SPNS to Correctional Health Services (NYC
DOHMH), 9/1/13-8/31/18. Annual budget $290,000.

Residential substance abuse treatment. From New York State Division of Criminal Justice Services to
Correctional Health Services (NYC DOHMH), 1/1/11-12/31/17. Annual budget $175,000.

Community Action for Pre-Natal Care (CAPC). From NY State Department of Health AIDS Institute to
Correctional Health Services (NYC DOHMH), 1/1/05-12/31/10. Annual budget $290,000.

Point of Service Testing. From MAC/AIDS, Elton John and Robin Hood Foundations to Correctional
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Health Services (NYC DOHMH), 11/1/09-10/31/12. Annual budget $100,000.

Mental Health Collaboration Grant. From USDOJ to Correctional Health Services (NYC DOHMH),
1/1/11-9/30/13. Annual budget $250,000.

                                           Teaching
Instructor, Health in Prisons Course, Bloomberg School of Public Health, Johns Hopkins
University, June 2015, June 2014, April 2019.

Instructor, Albert Einstein College of Medicine/Montefiore Social Medicine Program Yearly
lectures on Data-driven human rights, 2007-present.

                        Other Health & Human Rights Activities
DIGNITY Danish Institute Against Torture, Symposium with Egyptian correctional health
staff regarding dual loyalty and data-driven human rights. Cairo Egypt, September 20-23, 2014.

Doctors of the World, Physician evaluating survivors of torture, writing affidavits for asylum
hearings, with testimony as needed, 7/05-11/18.

United States Peace Corps, Draconculiasis Eradication, Togo West Africa, June 1990-
December 1991.
                                            Books
Venters H. Life and Death in Rikers Island. Johns Hopkins University Press. 2/19.

                                     Chapters in Books

Venters H. Mythbusting Solitary Confinement in Jail. In Solitary Confinement Effects,
Practices, and Pathways toward Reform. Oxford University Press, 2020.

MacDonald R. and Venters H. Correctional Health and Decarceration. In Decarceration. Ernest
Drucker, New Press, 2017.


                             Prior Testimony and Deposition

•       Benjamin v. Horn, 75–cv–03073–LAP (S.D.N.Y.). Expert for Defendants 2015.
•       Newbrough v. Piedmont Regional Jail Authority, 3:10CV867–HEH (E.D.V.A. 2011).
Expert for Plaintiffs.
•       Rodgers v. Martin, 2:16-cv-00216 (N.D.T.X.). Expert for Plaintiffs 10/19/2017
•       Fikes v. Abernathy, 7:16-cv-00843-LSC (N.D.A.L.). Expert for Plaintiffs 10/30/20017
•       Fernandez v. City of New York, 17-CV-02431 (GHW)(SN) (S.D.N.Y. 2017). Defendant
in role as City Employee, 4/10/2018.
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•       Charleston v. Corizon Health Inc., 2:17-cv-03039-MAK (E.D. P.A.). Expert for Plaintiffs
4/20/2018.
•       Atencio v. Board of Cnty. Comm. of Sante Fe Cnty., 1:17-CV-00617 WJ/KK (N.M.).
Expert for Plaintiffs 7/23/2018.
•       Hammonds v. Dekalb Cnty. , 4:16-cv-01558-KOB (M.D.A.L.). Expert for Plaintiffs
11/30/2018.
•       Mathiasen v. Rio Arriba Cnty., 17-CV-1159 JHR/KBM (N.M.). Expert for Plaintiff
2/8/2019.
•       Hutchinson v. Bates, 2:17-cv-00185-WKW-SMD (M.D.A.L.). Expert for Plaintiff
3/27/2019.
•       Lewis v. East Baton Rouge Parish, 3:16-cv-00352-JWD-RLB (M.D.L.A.). Expert for
Plaintiff 6/25/2019, 7/1/2019.
•       Belcher v. Lopinto., 2:18-cv-07368-JTM-DPC (E.D.L.A.). Expert for Plaintiffs
12/5/2019.
•       Imperati v. Semple, 3:18-cv-01847-RNC (C.T.) Expert for Plaintiffs 3/11/2020.
•       Camera v. Semple, 3:18-cv-01595 (C.T.). Expert for Plaintiffs 9/23/2020.
•       Staten v. Semple, 3:18-cv-01251 (VAB) (C.T.). Expert for Plaintiffs 2020.
•       Woodward v. Lopinto, 2:18-cv-04236-MVL-KWR (E.D.L.A). Expert for Plaintiffs
12/1/2020.
•       U.S. v. Pratt, 2:19-cr-00213-DWA (W.D.P.A.). Expert for Defendant 4/28/2020 (Video
hearing).
•       U.S. v. Nelson, 1:19-cr-00021-DSC (W.D.P.A.). Expert for Defendant 5/4/2020 (Video
hearing).
•       Chunn v. Edge, 1:20-CV-01590-RPK-RLM (E.D.N.Y.) Expert for Plaintiffs 4/30/2020
(Video deposition), 5/12/2020 (Video hearing).
•       Martinez-Brooks v. Easter, 3:20-cv-569 (MPS) (C.T.). Expert for Plaintiffs 6/8/2020
(Video deposition), 6/11/2020 (Video hearing).
•       Busby v. Bonner, 2:20-cv-02359-SHL (W.D.T.N.). Expert for Plaintiffs 7/10/2020
(Video hearing).
•       Braggs v. Dunn, 2:14-cv-601-MHT (M.D.A.L.). Expert for Plaintiffs 10/19/2020 (Audio
testimony).
•       Royston v. Christian, 6:19-cv-00274-RAW (E.D.O.K.). Expert for Plaintiffs 3/26/21
(Video deposition).
•       Fraihat v. U.S. Immigration and Customs Enforcement, 5:19-cv-01546-JGB-SHK
(C.D.C.A.). Expert for Plaintiffs 2020.
•       Torres v. Milusnic, CV 20-04450-CBM-PVC(x) (C.D.C.A). Court appointed expert
5/24/21 (Video deposition).
•       Sanchez v. Brown, 20-cv-832-E (N.D.T.X.). Expert for Plaintiffs 5/25/21 (Video
deposition).
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•      Barnett et al. v. Tony, 20-cv-61113-WPD (S.D. FL). Expert for Plaintiffs 10/21/2021
(Video hearing).
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                  Rebuttal Expert Report of Homer Venters, M.D., M.S.
      Romero-Lorenzo et al. v. Koehn et al., No. 2:20-cv-00901-DJH-DMF (D. Ariz.)
                                        May 27, 2022
Summary

  1. In my opening expert report, I set out my opinions, the basis for my opinions, certain areas

     I view as strengths in the CoreCivic Central Arizona Florence Correctional Complex’s

     (“CAFCC”) COVID-19 response, and several recommendations for ways in which the

     facility can correct deficiencies in its COVID-19 response. I have reviewed the expert

     report prepared by Dr. Owen Murray in this case.

  2. In formulating the opinions I express in this rebuttal report, I relied on the supporting

     information that I identified in my opening expert report, and also the following

     documents:

         Expert Witness Report of Dr. Owen J. Murray and evidence cited in that report
         https://www.cdc.gov/coronavirus/2019-ncov/your-health/covid-by-county.html
         https://www.cdc.gov/coronavirus/2019-ncov/community/correction-
          detention/guidance-correctional-detention.html
         https://stacks.cdc.gov/view/cdc/114297
         https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/types-of-
          masks.html
         https://www.azdhs.gov/covid19/data/index.php#vaccine-admin
         https://dchealth.dc.gov/release/dc-health-reaching-out-eligible-residents-get-boosted
         https://www.covid19treatmentguidelines.nih.gov/management/clinical-
          management/nonhospitalized-adults--therapeutic-management/
         https://directorsblog.health.azdhs.gov/antivirals-are-increasingly-available-to-
          complement-covid-19-vaccination/
         https://www.azdhs.gov/covid19/index.php#antivirals
         https://www.kff.org/medicaid/issue-brief/nursing-facility-staff-vaccinations-boosters-
          and-shortages-after-vaccination-deadlines-passed/
         Torres v. Milusnic, No. 2:20-cv-04450, ECF No. 239-1 (C.D. Cal. May 12, 2021).
         Torres v. Milusnic, No. 2:20-cv-04450, ECF No. 367-1 (C.D. Cal. Mar. 4, 2022).
         CORECIVIC-MLG003510
         CORECIVIC-MLG003528
         CORECIVIC-MLG003529-62
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Methodology

  1. In my work as an expert witness, and particularly in my work as a court-appointed monitor,

     I find it essential to review multiple sources of information to ascertain the full picture of

     the medical care that a facility provides. This is because different people have different

     perspectives, and only by understanding all perspectives and examining the underlying data

     can I obtain a complete perspective. Even the National Commission on Correctional Health

     Care, the American Correctional Association, and other organizations that accredit

     detention facilities—whose methodologies I often find are insufficient to uncover problems

     that exist at facilities—require an examination of multiple sources of information,

     including data that indicates whether facilities are complying with certain metrics. My

     review of multiple sources of information also helped me to obtain a view of the current

     COVID-19 response at the facility and a view of how this response has (or has not) evolved

     to face different challenges, rather than simply a snapshot on the day of a tour.

  2. Dr. Murray’s report relies primarily—and often entirely—on information told to him by

     healthcare staff. This reliance on only partial information represents a serious

     methodological flaw, and as a result Dr. Murray’s report is based on incomplete

     information and an incorrect view of the facility’s COVID-19 response. This approach is

     not endorsed by the correctional health organizations I referred to above and would not be

     sufficient in community health care settings, where medical records, interviews with

     patients and staff, information about the physical setting where care is provided, and review

     of administrative data are standard tools in assessing adequacy of health care access and

     quality.




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    3. The flaws in Dr. Murray’s methodology of relying solely on reports from CoreCivic staff

       are perhaps best explained through an example. Dr. Murray takes the opinion that “CAFCC

       is making every effort to change the dynamic on vaccination within the detainee

       population.”1 He bases this opinion on his conversations with healthcare staff and logs

       showing that town hall events occurred and papers were passed out at those events.2

       However, Dr. Murray neglected other sources of evidence showing that these efforts are

       ineffective. As I explain below in paragraph 11, the facility’s vaccination rate is unclear

       but appears to be well below that of the Arizona community as a whole. This low

       vaccination rate strongly suggests that the facility’s educational efforts are deficient. As I

       also explain below in paragraph 22, Dr. Murray neglects that the materials handed out at

       these educational events, and the talking points staff use to conduct them, are not written

       to provide any educational information about the vaccines or to answer any of the common

       medical questions detained people may have about them. My experience as an independent

       COVID-19 monitor in multiple jails and prisons is that when far more people are recorded

       as refusing the vaccine than accepting it, as is the case at CAFCC,3 efforts by health staff

       have stopped or failed. My work in these jails and prisons shows that education and

       outreach efforts can be implemented to achieve well over 50% vaccination rates.

    4. There are many additional examples where Dr. Murray’s approach of relying primarily or

       entirely on his discussions with healthcare staff give him an incomplete picture of the

       facility’s COVID-19 response. I disagree with many of the conclusions he reaches because



1
  Murray Report, 17.
2
  Murray Report, 13-17
3
  Documents produced in this case list the number of detained people who have refused the
vaccine as 5,156 and the number of detained people who have received at least one dose as
3,103. CORECIVIC-MLG003528.
                                                 3
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        they are based on incomplete information. Conclusions based solely on reports of facility

        staff would not satisfy the requirements that professional organizations use to accredit jail,

        prison, or detention facilities, and they would not satisfy the level of rigor that is required

        to monitor health and safety in a jail, prison, or detention facility.

     5. Dr. Murray criticizes the fact that I presented an expert opinion without personally

        inspecting the facility. I was able to do this by reviewing photographs of the facility and

        speaking with plaintiff’s counsel, who inspected the facility. Through these additional steps

        I was able to acquire information that—in conjunction with my review of deposition

        transcripts, records from the facility, and information from detained people relayed to me

        by counsel—gave me a full picture of the aspects of the operations at CAFCC that are

        relevant to my opinions in this case, which generally address overarching issues of facility

        policy. In this particular case I am comfortable that I have gathered information from

        multiple sources that has given me a full picture of CAFCC’s operations relevant to the

        opinions I have been asked to provide, but if the Defendants would like me to visit the

        facility for an inspection, I am happy to do so.

     6. I agree with Dr. Murray in principle, however, that one needs multiple sources of

        information in order to obtain a full picture of the operations of a detention facility. I am

        comfortable that I have obtained sufficient information about the facility. As I explain

        above in paragraphs 1-4, Dr. Murray’s opinions are frequently based solely on his

        conversations with facility staff, which is problematic.

May 3, 2022 CDC Guidance

7.      On May 3, 2022, the CDC updated its Guidance on Prevention and Management of

        Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities. This



                                                   4
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         guidance contains a set of basic protections that serve as a floor for what I would consider

         to be medical best practices in any facility, as well as basic correctional health standards.

8.       At a high level, the May 3, 2022 guidance involved a shift to rely more on data in guiding

         a facility’s response to COVID-19. This guidance requires facilities to track community

         levels of transmission, transmission within the facility, vaccination rates within the

         facility, numbers of high-risk people in the facility and other factors. If any of these

         factors indicates elevated COVID-19 risk, then the facility should take what the guidance

         terms “enhanced COVID-19 prevention strategies.” If all factors indicate lower COVID-

         19 risk, then the facility need only take what the guidance terms “strategies for everyday

         operations.” This shift underscores the need for an active, ongoing process to measure

         these various risks and use this information to increase or decrease the facility’s COVID-

         19 responses based on those measurements.

9.       The framework set out in the May 3, 2022 guidance demonstrates that COVID-19 risk at

         CAFCC is elevated, requiring the use of enhanced protections. The guidance sets out a

         number of factors and explains that if even one is triggered, the facility must use

         enhanced prevention strategies. These factors are: (1) the COVID-19 community level is

         medium or high, (2) the facility has not determined that it has high levels of vaccination,

         (3) there is currently transmission within the facility, (4) the facility has not determined

         that staff and residents are unlikely to get very sick from COVID-19, and (5) facility

         characteristics and operational protocols can contribute to COVID-19 spread within the

         facility.

10.      First, the community level may at times require the use of enhanced protections. Pinal

         County, Arizona, where CAFCC is located, currently has a community level of low, but



                                                   5
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         these community levels fluctuate with the state of the pandemic.4 The CDC guidance

         dictates that when the community level is medium or high, facilities should use enhanced

         protections. This factor will be triggered at times when the community level increases

         above the low level, which are likely to occur as the pandemic progresses in the future.

11.      Second, the available vaccination data requires the use of enhanced protections. The CDC

         guidance states that, to assess this factor, facilities should “[d]etermine the proportion of

         staff and residents who are up to date on COVID-19 vaccines.”5 CAFCC has not even

         made this determination, and as a result it should use enhanced protections. The limited

         data on vaccinations that is available further supports the use of enhanced protections. As

         of February 18, 2022, 21% of detained people currently at CAFCC had been vaccinated

         by CAFCC staff.6 Additional detained people may have already been vaccinated on

         arrival at CAFCC, but CAFCC does not track this number.7 Some of the 21% of people

         currently detained at CAFCC who were vaccinated by CAFCC staff will no longer be up

         to date on vaccination, meaning that the percentage of people currently detained at

         CAFCC who are up to date on vaccination may be lower than 21%. By way of

         comparison, 71% of Arizona residents are vaccinated, and 61% of Arizona residents are

         up to date on their vaccinations.8 Based on the incomplete data kept by Defendants, the

         vaccination rate among detained people at CAFCC appears to be relatively low, and

         therefore according to the CDC’s guidelines, requires enhanced protections. Similarly, it



4
  https://www.cdc.gov/coronavirus/2019-ncov/your-health/covid-by-county.html.
5
  https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.
6
  CORECIVIC-MLG003528; see also Rose Deposition, 157:18-21.
7
  Rose Deposition, 157:22-158:13.
8
  https://www.azdhs.gov/covid19/data/index.php#vaccine-admin.

                                                   6
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         is unclear that the rate of staff who are up to date on vaccination is adequate. During

         depositions in this case, Warden Kline testified in November 2021 that approximately

         half of staff were vaccinated against COVID-19.9 This rate was low relative to the

         vaccination rate in Arizona at the time. Other deponents who testified in February 2022

         did not know the staff vaccination rate.10 Dr. Murray states that the staff vaccination rate

         as of the date of his tour was 80%, but he does not explain where he obtained this rate, or

         point to any documentation supporting his assertion; critically he does not indicate if this

         rate is for solely medical staff or all facility staff, both custody and medical staff. He also

         offers no explanation for the significant increase from the 50% rate shown by the

         evidence in this case, and in my experience it is unusual to see a significant rate increase

         without any change in policy, such as the mandate or incentive program that I

         recommended in my previous report. A true vaccination rate of 80% or greater among all

         staff and detained people would represent a significant improvement and a serious

         (though partial) protective factor, but Dr. Murray provides no data to support his

         assertion or any others regarding vaccination rates. In sum, CAFCC has not sufficiently

         tracked its vaccination rates, and the available data suggest that CAFCC lacks high

         vaccination rates and the willingness to track them. This CDC requirement for enhanced

         protection is therefore triggered.

12.      Third, rates of transmission within the facility likely require enhanced protections. Dr.

         Murray states that there have been 1,332 known cases in the facility,11 which amounts to

         multiple new cases per day on average throughout the two years of the pandemic.


9
  Nov. 9, 2021 Kline Deposition, 62:4-6.
10
   Rose Deposition, 192:4-11; Jaramillo Deposition, 143:16-21.
11
   Murray Report, 29.

                                                    7
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         Similarly, the documentary evidence in this case related to quarantines shows that as a

         general matter there are multiple units in the facility on quarantine at any given time.12

         This evidence suggests that at any given time, there has been recent transmission within

         the facility (as measured by either at least one case in the non-intake population or at least

         one case appearing in a quarantined unit after the index case has been removed). This

         extent of transmission in the facility will necessarily vary significantly over time, but

         given CAFCC’s track record and the flaws in its COVID-19 protections, it is highly

         likely that at any given time it triggers this requirement for enhanced protections. With

         adequate testing and symptom monitoring in place (see below), a two-week period

         without two or more cases is adequate to return to the standard level of precautions, If the

         other factors also indicate.

13.      Fourth, CAFCC has not made any determination on the risk of severe health outcomes.

         The CDC guidance requires CAFCC to “[d]etermine whether the facility’s residents or

         staff are more likely to get very sick from COVID-19.”13 As I explain in more detail

         below in my discussion of identification and protection of high-risk patients, I

         recommended that CAFCC make this determination and regularly update it by keeping a

         list of detained people with risk factors for hospitalization and death from COVID-19.

         Dr. Murray disagrees that this list is necessary (a position that conflicts directly with the

         CDC guidance), but he admits that CAFCC does not keep one.14 CAFCC has not made




12
   E.g., Rose Deposition, Ex. 4.
13
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.
14
   Murray Report, 24.
                                                   8
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         this determination required by this factor, so enhanced protective measures are needed,

         pursuant to CDC guidelines.

14.      Fifth, characteristics of CAFCC and its operations—specifically, the high turnover rate of

         its population—triggers the fifth factor for enhanced protective measures. The CDC notes

         that this factor is triggered by “frequent population turnover.”15 Dr. Murray reports that

         the population at CAFCC is “rapidly changing,” with the average stay less than 120

         days.16 This factor is therefore triggered as well, indicating a need for enhanced

         protective measures.

Responses to Dr. Murray’s Conclusions

      15. I continue to believe that the recommendations I set out in my opening report are sound.

         Dr. Murray reviewed those recommendations. He agreed with some of my findings and

         recommendations, and it appears that the facility has accepted some of my

         recommendations. He critiqued others. I disagree with those critiques, which are

         unsupported and wrong.

16.      Detained Person Vaccinations and Boosters: In my opening report, I explained that

         CAFCC was relying almost entirely on the Johnson & Johnson vaccine for primary

         doses. I also explained that, even though facility staff believed that detained people could

         receive the Moderna vaccine on request, the facility was not informing detained people of

         this choice, which resulted in low numbers of people requesting the Moderna vaccine. I

         recommended that CAFCC stop this outdated approach and begin affirmatively offering




15
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.
16
   Murray Report, 17.
                                                  9
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         mRNA vaccines to all detained people. Dr. Murray states, based on his conversations

         with CAFCC staff, that the facility is now relying primarily on the Moderna vaccine. I

         am not comfortable relying on this claim based solely on Dr. Murray’s conversations

         with CAFCC staff, and this claim should be verified using information from multiple

         sources, including documentation in data reports, before any conclusions about the

         facility’s operations are drawn. However, it appears as though the facility heeded my

         recommendation and has significantly decreased its reliance on the Johnson & Johnson

         vaccine. Although the ideal course would be to additionally offer the Pfizer vaccine, this

         acceptance of my recommendation as to the Moderna vaccine is an improvement.

17.      However, CAFCC’s efforts remain deficient in the other ways I identified in my opening

         report. As I discussed in my opening report and above in paragraph 11, CAFCC does not

         track its vaccination rate among detained people, and its limited tracking efforts suggest

         that the percentages of detained people who are vaccinated and up to date are low relative

         to the percentages in Arizona as a whole. These unknown and apparently low rates

         suggest that CAFCC’s efforts to track vaccinations and to educate and vaccinate people

         detained in the facility are deficient.

18.      I recommended that CAFCC track vaccination dates of everyone in the facility (based on

         a verification of vaccination status in the ASIIS system performed as part of the intake

         process).17 Dr. Murray agrees that this “suggestion is within reason,” but he states that

         this information often cannot be verified in the ASIIS because many detained people

         come from outside of Arizona.18 Dr. Murray’s logic does not hold. He agrees with my




17
     Opening Report, 14.
18
     Murray Report, 17-18.
                                                   10
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         opinion that there are good reasons to track detained people’s vaccination rates. Both Dr.

         Murray and I agree, then, that CAFCC should track vaccination dates for all people.

         CAFCC should also, as an additional layer of protection, verify this information through

         the ASIIS system when possible. Dr. Murray contends that this additional layer of ASIIS

         verification is not always available because some people came from outside of Arizona

         and are not in the Arizona-specific ASIIS database. However, this contention —if true—

         provides no reason to abandon tracking vaccinations altogether. Additionally, although

         CAFCC should track vaccinations even if it cannot verify some of those vaccinations in

         ASIIS, Dr. Murray’s assertion that many people detained at CAFCC are not from

         Arizona appears faulty. He cites no supporting data for his contention, and the data that I

         have reviewed suggest that people are in fact from Arizona. The most recently produced

         quarantine logs list as the “Agency” for the significant majority of detained people either

         “PHX,” “YUM,” “TUC,” or “FLA.”19 In other words, most people detained at the facility

         are detained there because they have court cases in Phoenix, Yuma, Tucson, or

         Flagstaff—all in Arizona. It thus appears that the facility could in fact verify vaccination

         information for a significant portion of detained people in ASIIS.

19.      CAFCC should prioritize people who have not yet received any vaccination for its

         education efforts and for targeted offers of vaccination. It should particularly prioritize

         those people who have not yet received any vaccination and have a risk factor for

         hospitalization or death, using the list of high-risk detained people I also recommend.

         CAFCC should also use vaccination dates to identify people eligible for boosters and

         make affirmative outreach efforts to those people.



19
     CORECIVIC-MLG003531-52.
                                                   11
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20.       Dr. Murray states that CAFCC need not affirmatively reach out to detained people to

          schedule booster shots because health services do not do this in the community. This is

          incorrect: certain public health departments have affirmatively reached out to people

          eligible for booster shots to communicate that eligibility.20 This opinion also conflicts

          with basic correctional health practices. Some of the most basic functions of correctional

          health departments involve scheduling healthcare measures after particular time intervals,

          even when this healthcare might not be scheduled in this way in the community. For

          example, in carceral settings, tuberculosis tests are recommended on an annual interval.

          Correctional healthcare systems generally take affirmative efforts to schedule these tests

          after a year has passed, rather than waiting for individual detained people to request them.

          Correctional healthcare systems also generally perform affirmative outreach to people

          eligible for certain vaccinations, such as the pneumovax and shingles vaccine, both of

          which are available to a subset of the population. Among the reasons why correctional

          health services undertake these efforts is that detained people generally lack access to

          their medical records and may not be able to track eligibility themselves. Dr. Murray’s

          suggestion that CAFCC does not need to perform this type of outreach for booster

          vaccines is contrary to these basic correctional healthcare practices. This suggestion also

          does not make sense because detained people do not have access to their medical records

          and are unable to reliably track their booster eligibility dates.

21.       Dr. Murray also states that CAFCC does not need to track booster eligibility or

          affirmatively offer boosters because detained people in the facility have a relatively short




20
     E.g., https://dchealth.dc.gov/release/dc-health-reaching-out-eligible-residents-get-boosted.

                                                    12
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         average stay of approximately four months.21 However, those initially vaccinated with

         the Johnson & Johnson vaccine, like many people at CAFCC, are eligible for boosters

         after two months.22 People who initially received an mRNA vaccine or who are eligible

         to receive a third booster become eligible after four months.23 Of course, the four-month

         stay is merely an average, and a significant number of people will be detained at CAFCC

         for longer than four months. Many people will become eligible for a booster while at

         CAFCC. I therefore disagree with Dr. Murray’s opinion that notifying detained people of

         booster eligibility is not a worthwhile endeavor due to the average length of stay. There

         are numerous other aspects of correctional health that require time for assessment and

         treatment in a jail setting similar to CAFCC, including serious mental illness, kidney and

         liver disease, and it is not credible to assert that because some patients leave before we

         conduct all of the care we may plan for them, we should withhold it from everyone else.

22.      Dr. Murray states that the facility’s educational efforts are adequate because “CAFCC

         does provide written information to all detainees” and because “CAFCC has been

         providing regular monthly town hall meetings with all detainees” regarding vaccination.24

         My recommendations did not address whether or not these materials were provided and

         these town halls were held but instead addressed the quality of these educational efforts.

         As I explained in my opening report, CAFCC should improve its written educational

         materials by using materials that are concise and are written with an incarcerated

         audience in mind.25 I also explained that town halls in housing areas should be conducted


21
   Murray Report, 17.
22
   https://www.cdc.gov/coronavirus/2019-ncov/vaccines/booster-shot.html.
23
   Id.
24
   Murray Report, 13, 19.
25
   Opening Report, 15.

                                                  13
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         by health staff.26 Dr. Murray does not examine the quality of these educational efforts. A

         review of the educational materials provided to detained people shows that the facility

         has chosen materials written by the manufacturers to avoid legal risk from side effects

         rather than educational materials designed for an audience of incarcerated people and

         intended to promote vaccination and answer questions.27 Similarly, a review of the

         talking points for town halls, which do not address medical questions about the vaccines’

         safety or efficacy, shows that these town halls do not properly educate detained people.28

         These materials and talking points are inadequate to provide the type of education

         necessary to improve vaccination rates, a fact that is corroborated by the apparently low

         vaccination rate in the facility.29

23.      Dr. Murray also states that my recommendation of one-on-one outreach by medical

         providers to unvaccinated, high-risk detained people is not necessary because detained

         people can request medical appointments to ask questions about the vaccine.30 But

         waiting for detained people to request medical appointments is not an effective way to

         increase vaccination uptake. High-risk detained people generally have complex medical

         histories and often take medications or have specific health conditions. In my experience,

         those high-risk people who remain unvaccinated do so because they have complex,

         personal questions about interactions between the vaccines and their medical conditions




26
   Opening Report, 14.
27
   Rose Deposition, 29:3-18, Ex. 1 at CORECIVIC-MLG000738-64.
28
   CORECIVIC-MLG003510. See also Rose Deposition, 29:19-30:16. In contrast, Rose
Deposition, Ex. 12 is a set of frequently asked questions for staff vaccination that goes into
considerably more depth on potential medical questions about vaccination. That document was
not used for purposes of educating detained people at town halls. Rose Deposition, 203:10-21.
29
   CORECIVIC-MLG003528; see also Rose Deposition, 157:18-21.
30
   Murray Report, 16.
                                                 14
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         or medications. In addition, providers often operate under pressure to limit the time and

         number of health problems they address at each encounter, making vaccination education

         and answering questions a distant priority. The predicable questions high-risk people

         have about vaccination are not suited to group town halls and may also involve private

         information, such as HIV-positive status, that these detained people do not want to share

         in group settings. For example, when I inspected the federal Bureau of Prisons’ Lompoc

         facility in April of 2021, I spoke with a number of unvaccinated detained people. The

         large majority of these people were willing to become vaccinated but had questions about

         the vaccine. Many of these people with questions were at high risk for hospitalization or

         death and had questions specific to their conditions or medications.31 These questions

         served as an impediment to vaccination even though detained people at that facility could

         have used the sick call process to ask those questions as Dr. Murray states detained

         people may at CAFCC. After BOP Lompoc implemented my recommendation of one-on-

         one counseling, many high-risk unvaccinated people were able to obtain answers to their

         questions and became vaccinated.32 The same would likely occur at CAFCC, and

         outreach to high-risk unvaccinated people for one-on-one counseling would be likely to

         significantly increase vaccine uptake among the crucial high-risk segment of its

         population.

24.      Finally, Dr. Murray states that, because COVID-19 vaccines have been available for

         some time, “most people, including detainees, are aware of the strengths and weaknesses

         of vaccination and have come to their own decision about their personal health and well-




31
     Torres v. Milusnic, No. 2:20-cv-04450, ECF No. 239-1, 9 (C.D. Cal. May 12, 2021).
32
     Torres v. Milusnic, No. 2:20-cv-04450, ECF No. 367-1, 9 (C.D. Cal. Mar. 4, 2022).
                                                 15
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         being.” I disagree with this statement on a number of levels. For a number of reasons,

         incarcerated people generally lack adequate information about vaccination even at this

         stage of the pandemic. In my experience, many incarcerated people have received

         information or have not had access to adequate medical counseling on vaccination,

         whether or not they have been incarcerated for the entirety of the pandemic. Additionally,

         those outside of the U.S. do not necessarily have access to the same vaccine choices as

         people in the U.S. do. Finally, when people are incarcerated, they find themselves in a

         congregate living setting where their risk for COVID-19 infection has increased, and they

         are often exposed to substandard medical care. These changes should cause unvaccinated

         people to reevaluate their decisions once they find themselves incarcerated. All of these

         factors can contribute to a lack of adequate information among people incarcerated at the

         facility. An evaluation of the rate of existing vaccination could help determine the level

         of vaccine access and education among people entering the facility. If that rate is close to

         the rate in the community as a whole, then CAFCC might assume that the level of access

         and education is comparable to that in the community as a whole; if the rate is lower, then

         CAFCC should assume that vaccine access and education among people entering the

         facility is relatively low. CAFCC does not keep data on vaccination rates of people

         entering the facility,33 so Dr. Murray has no basis for his assumption about the levels of

         vaccine access and education in the population entering the facility. Dr. Murray’s

         suggestion that facilities do not need to provide education about a preventative measure

         that has existed for over a year also conflicts with basic correctional health practice. For

         example, Methicillin-resistant Staphylococcus aureus (MRSA) has been a significant



33
     Rose Deposition, 157:22-158:13.
                                                  16
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         concern in jail and prison environments for decades, but correctional health services

         continue to provide education on this disease and ways to prevent it. Finally, Dr.

         Murray’s suggestion conflicts with the fundamental medical principle of informed

         consent: people detained at CAFCC should be made aware of the benefits and

         consequences of all medical interventions they are offered, including COVID-19

         vaccination.

      25. Staff Vaccinations and Boosters: In my opening report, I explained the importance of

         staff vaccination, and I explained that based on my review of the evidence, CAFCC had

         considered two methods of increasing staff vaccination rates: mandates and monetary

         incentives.34 Dr. Murray does not disagree with any of those opinions. He only offers two

         observations: that the staff vaccination rate was 80% on the date of his tour, and that “the

         reality of significant staff vacancies if vaccination was made mandatory guided against its

         adoption.”35 As I explained above in paragraph 11, it is unclear what evidence supports

         Dr. Murray’s statement about the 80% staff vaccination rate, nor is it clear whether this

         rate represents a rate for just the medical staff or all staff, including correctional officers.

         However, given the lack of policy changes at CAFCC related to staff vaccination, it is

         unlikely that the staff vaccination rate could have changed so significantly from the 50%

         rate that Warden Kline testified to in his November, 2021 deposition.

      26. My recommendations from my original report remain unchanged: CAFCC should

         implement the incentive and mandate plans that it prepared to increase staff vaccinations.

         It appears from Dr. Murray’s report that the facility declined to mandate staff



34
     Opening Report, 15-16.
35
     Murray Report, 19-20.

                                                    17
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         vaccinations due to concerns about attrition,36 but without any specific information about

         the attrition that might have occurred, it is difficult to identify any concrete concern that

         could have militated against the significant benefits of such a mandate. This concern is

         particularly speculative because evidence shows that in other settings where vaccine

         mandates have been implemented, their effects on staffing shortages have been less than

         expected.37 Additionally, any attrition could be overcome by providing incentives for

         staff vaccination, as I recommended, and extending those incentives to new hires who are

         vaccinated or willing to become vaccinated.

27.      Identification and Protection of High-Risk Patients: In my opening report, I noted that

         CAFCC had in the past kept a list of all high-risk patients and provided them additional

         protections, and I recommended that it resume this practice.38

28.      The May 3, 2022 CDC guidance further emphasizes the need to track people at high risk

         of severe illness or death from COVID-19. For example, it states that before a facility

         may stop employing enhanced protective measures, it must “[d]etermine whether the

         facility’s residents or staff are more likely to get very sick from COVID-19.”39 This

         guidance also includes as an everyday prevention strategy a requirement that facilities

         “[a]ssess residents’ risk for severe health outcomes from COVID-19 and ensure timely

         treatment after infection for those who are eligible for COVID-19 therapeutics” such as



36
   Murray Report, 20.
37
   https://www.kff.org/medicaid/issue-brief/nursing-facility-staff-vaccinations-boosters-and-
shortages-after-vaccination-deadlines-passed/ (finding that the March 2022 nursing facility
“vaccine mandate has not exacerbated staffing shortages to the extent initially hypothesized since
shortages have actually fallen nationally since January 2022.”).
38
   Opening Report, 16, 20.
39
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.

                                                   18
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         the drugs Paxlovid, remdesivir, and molnupiravir.40 A crucial part of this process of

         ensuring timely treatment after infection is determining in advance the number of people

         at high risk of hospitalization or death, which in turn determines the number of people

         who should be assessed for treatment with these drugs if they test positive within a

         certain number of days of symptom onset.

29.      Dr. Murray opined that it is not necessary to keep this list of high-risk patients because

         CAFCC is able to use its electronic medical recordkeeping system, Allscripts, to identify

         all people with any specific risk factor, and because medical staff have the ability to take

         high-risk status into account when making medical decisions. Dr. Murray does not

         identify the source on which he basis this statement. However, the evidence in this case

         shows that Dr. Murray’s statement is likely incorrect. When CAFCC kept a list of high-

         risk patients, it did so in the way that Dr. Murray suggests—by running reports from

         Allscripts—but this process was time-consuming.41 Therefore, contrary to Dr. Murray’s

         suggestion, this list cannot be created on the spot when necessary and must be kept in

         advance. The evidence also shows that when the facility stopped keeping this list, it

         stopped providing protections to people on the list. For example, it stopped providing

         single cells to high-risk patients when their unit went on quarantine.42 I therefore disagree

         with Dr. Murray’s conclusions that the facility could straightforwardly obtain the

         information on this list or that it is currently providing the same quality of care that it

         could provide with this list. In addition, to track and use the level of high-risk patients,




40
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.
41
   Rose Deposition, 135:9-17, 137:6-14.
42
   Rose Deposition, 138:12-18.
                                                   19
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         this is something the facility must do on an ongoing basis, not simply have the capacity to

         on an occasional basis.

30.      I made several, specific recommendations as to the protections these high-risk patients

         should receive, which I will discuss below. First, I recommended CAFCC provide

         additional, one-on-one counseling to unvaccinated people appearing on this high-risk list.

         I have already addressed that opinion and Dr. Murray’s critiques of it above in paragraph

         23.

31.      Second, I recommended that CAFCC provide vital sign and symptom checks by nursing

         staff in quarantine, including intake cohorts and exposure quarantine. Dr. Murray

         disagrees and states that, based on his conversations with healthcare staff at CAFCC, they

         believe symptom and temperature checks by security staff are adequate. Dr. Murray’s

         opinion misses several important aspects of my recommendation. I recommend vital sign

         checks beyond just temperature for high-risk people. These vital sign checks provide

         additional important information that can track severe illness, such as oxygen saturation. I

         also recommend that these symptom and vital sign checks be performed by healthcare

         staff, because those are the staff members who will be aware of detained people’s

         particular risk factors and will be able to appreciate what signs are causes for concern in

         people with particular risk factors. For example, in investigating deaths from COVID-19

         during a recent outbreak in Hawaii state prisons, I found that multiple people died despite

         the facility attempting to perform regular symptom and vital sign checks, because they

         became so ill that they could not report for these checks when they were performed by

         custody staff in their units. These people were marked as refusing checks, and the

         warning signs of severe disease went unnoticed. CAFCC’s current system risks the same



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         outcome occurring. Healthcare staff targeting high-risk patients for vital and symptom

         checks, in contrast, would be likely to notice any detained people who are too sick to

         report for their checks and would be better positioned to recognize that this inability to

         report for a check is a sign of danger.

32.      Third, I recommended that CAFCC modify the nursing assessments being conducted for

         patients with suspected or known COVID-19 so that when a person is high-risk,

         healthcare staff modify the action steps to reflect a lower threshold for these high-risk

         patients. Dr. Murray agrees that the CDC guidance recommends considering high-risk

         status.43 He opines that CAFCC healthcare staff explained to him that they understand the

         factors that make a patient high-risk and take measures accordingly. This case-by-case

         approach is motivated by the same concerns as the uniform policy I recommend, but it is

         a highly flawed way of achieving the goal of uniformly protecting high-risk patients

         because it creates a high risk of someone slipping through the cracks and not being

         provided the enhanced protection that they require. This risk is particularly high during

         the most dangerous phases of the pandemic when outbreaks cause high case counts and

         staffing shortages. Dr. Murray provides no reasoning supporting CAFCC’s risky decision

         not to establish any uniform policy making safeguards for high-risk patients. I therefore

         continue to take the opinion that a uniform policy is necessary to adequately protect high-

         risk patients, particularly during an outbreak.

33.      Fourth, I suggest that keeping a list of high-risk patients can help a facility to ensure it

         has sufficient stock of oral antiviral medications such as Paxlovid and Molnupiravir to

         treat eligible people in the event of an outbreak. The May 3, 2022 CDC guidance



43
     Murray Report, 23-24.
                                                   21
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        emphasizes the importance of this recommendation, dictating that facilities should ensure

        adequate stock of therapeutic medications and should follow guidelines by the National

        Institutes of Health (NIH) for treatment with therapeutic medications.44 I agree with these

        recommendations. Based on the current recommendations, CAFCC should evaluate every

        high-risk person who tests positive for COVID-19 within 5 days of symptom onset for

        Paxlovid, assuming sufficient supply.45 If Paxlovid is indicated, CAFCC should prescribe

        it. If Paxlovid is not indicated, CAFCC should evaluate the patient for treatment with

        remdesivir. If remdesivir is not indicated, feasible, or available, CAFCC should evaluate

        the patient for treatment with Molnupiravir (or bebtilovimab). CAFCC must keep

        sufficient levels of these medications on hand to prescribe them as dictated by NIH

        guidelines. Dr. Murray agrees with this assessment, but he does not explain how CAFCC

        should assess its needs.46 Only by keeping the list of high-risk patients that I recommend

        can CAFCC ensure it keeps adequate supply of these medications on hand. In fact, Dr.

        Murray’s report does not make mention of CAFCC having requested or received any of

        these medications, suggesting that the facility had neither requested nor received them as

        of his April 15, 2022 inspection.




44
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html;
https://www.covid19treatmentguidelines.nih.gov/management/clinical-
management/nonhospitalized-adults--therapeutic-management/.
45
   Supply in the community is currently sufficient, as is evidenced by the Arizona Department of
Health Services’ announcement in April 2022 that supplies are sufficient that it had expanded
access to all eligible patients in the state. https://directorsblog.health.azdhs.gov/antivirals-are-
increasingly-available-to-complement-covid-19-vaccination/;
https://www.azdhs.gov/covid19/index.php#antivirals.
46
   Murray Report, 24.

                                                 22
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34.      Masks: I noted that detained people at CAFCC are provided two cloth masks, and that if

         they develop symptoms or test positive, they are given a surgical mask. I recommended

         that CAFCC provide all detained people with surgical or KN95 masks, replaced weekly

         or when they become dirty or break. I also recommended that, when two or more cases

         have been detected among detained people or staff in a 14-day period, KN95 masks

         should be provided for all staff and detained people.47 Dr. Murray apparently disagrees.

         He states that the CDC guidance permits cloth masks in certain circumstances.48

         Although it is correct that the CDC guidance does not specify that surgical or KN95

         masks are required in all circumstances, the CDC does make clear that a mask that fits

         tightly or snugly is recommended for every person,49 and my experience is that the type

         of cloth masks issued by CAFCC do not meet these CDC criteria. I explained in my

         opening report that surgical or KN95 masks provide more effective protection against the

         spread of COVID because they are more effective and more comfortable to wear.50 Dr.

         Murray does not disagree with either of these facts. Dr. Murray also states that CAFCC

         provides all detained people with cloth and surgical masks.51 He does not indicate the

         source of this information, but it conflicts with the evidence in this case, which shows

         that detained people are given only cloth masks unless they develop symptoms or test

         positive.52




47
   Opening Report, 20.
48
   Murray Report, 24.
49
   https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/types-of-masks.html; see
also https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html (recommending that masks be “well-fitting”).
50
   See Opening Report, 20.
51
   Murray Report, 24-25.
52
   Rose Deposition, 130:24-131:6, Jaramillo Deposition, 188:10-19.
                                                  23
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35.      Intake Cohorting: In my opening report, I recommended that CAFCC increase the testing

         that it performs in intake cohorts. I noted that there are a variety of acceptable timing

         strategies. In my opening report, I recommended that CAFCC offer two tests to each

         person over the course of the intake period. After I submitted my opening expert report,

         the CDC modified its guidance to require only a test at the end of the intake period, so

         long as the cohort is kept small.53 I continue to believe that the best way to protect health

         and ensure the efficient operation of the facility is to perform multiple tests over the

         intake cohort period so that any people in the cohort who brought COVID-19 into the

         facility can be isolated to limit spread within the cohort. However, I note that CAFCC

         may follow the CDC guidelines by keeping its intake cohorts small (that is, limiting the

         number of people in a cohort to permit social distancing within the unit) and performing

         just one test on the final day of the intake cohort period. CAFCC is not performing this

         alternate strategy either, so its current intake cohorting practices remain deficient.

36.      Dr. Murray offers only one opinion on this subject, which is that the CDC guidance does

         not require any increase in the testing that CAFCC performs in intake cohorts. This is

         incorrect. The evidence shows that, although CAFCC performs a test on intake, it does

         not perform any tests as part of the intake cohort process.54 The distinction here is that

         when a person enters detention, they may be tested in the initial hours of their intake

         processing, but not be placed into an intake cohort until many hours or even days later.

         During this time, significant close contact occurs with other people, and without

         subsequent testing, new cases that predictably occur as a result of this early go



53
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.
54
   Rose Deposition, 55:5-11.
                                                   24
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         undetected. Additionally, people may predictably become infected during an intake

         cohort period without showing symptoms due to the higher risk of exposure in an intake

         cohort, and then may be positive for COVID-19 on the final day of the cohort period.

         Failing to test on this final day of the period similarly risks that someone will exit the

         cohort while infectious and be placed in general population. CAFCC’s faulty testing

         schedule falls short of the minimum standard set out by the current CDC guidance.55 It

         also falls short of what the CDC guidance at the time of Dr. Murray’s report required,

         which was testing at the end of the intake cohort period and testing every 3-7 days in

         times of high community transmission.56 Dr. Murray’s incorrect statement about the CDC

         guidance does not change my opinion about my recommendations set out above.

37.      Quarantine: In my opening report, I recommended that CAFCC follow the CDC guidance

         by increasing the testing it offers in quarantine units. The CDC guidance continues to

         recommend serial testing in cohorted quarantine units such as those used by CAFCC

         every 3-7 days.57 In my opinion, this strategy remains an effective one. My

         recommendation remains that a variety of specific timing strategies are acceptable, but at

         a minimum CAFCC should offer two tests to each person in a cohorted quarantine unit

         over the course of the quarantine period, with additional testing every 3-7 days if the

         quarantine period is extended.




55
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.
56
   https://stacks.cdc.gov/view/cdc/114297.
57
   https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html

                                                   25
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      38. Dr. Murray states that “[c]urrently in a cohorted quarantine group, CAFCC provides

         COVID-19 testing upon request, if a detainee develops symptoms, and at day 10.”58 This

         statement conflicts with the evidence in this case, which shows that tests are only offered

         to people in quarantine units who report symptoms or who share a cell with someone who

         has tested positive or exhibited symptoms.59 This statement must be examined further to

         determine whether the facility has changed its policy and the extent to which this policy

         is actually implemented, but if true, it is a helpful—but partial—improvement to the

         facility’s mitigation measures. Throughout the pandemic and particularly with recent

         variants, it has been common for a person who tested positive to already have infected

         others in their housing unit before they were removed, and for at least some of these

         others to be asymptomatic. CAFCC’s existing policy does not effectively identify these

         other asymptomatic carriers in the unit, and it does nothing to prevent them from

         spreading COVID-19 within the quarantine unit during the quarantine period. As I

         mentioned in my opening report, there are a variety of testing strategies that could

         acceptably mitigate this risk, but CAFCC should address this risk by implementing some

         strategy that involves offering multiple tests over the quarantine period, with serial

         retesting every 3-7 days if the quarantine period is extended.

39.      In my opening report, I also recommended that CAFCC treat people released from a

         quarantine unit as potentially COVID-19 positive on release, by notifying them that they

         have potentially been exposed to COVID-19 and providing them with information about

         isolation strategies.60 Dr. Murray does not disagree with this recommendation. In fact, he


58
   Murray Report, 26.
59
   Rose Deposition, 74:8-12, 18-25, Jaramillo Deposition, 182:8-11.
60
   Opening Report, 23.

                                                  26
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         states that the Complex Health Services Administrator, Ms. Jaramillo, reported that the

         facility is taking these steps.61 The evidence in this case conflicts with Dr. Murray’s

         statement because it shows that the facility has no such policy.62 If the facility has in fact

         changed its policy to follow my recommendation as Dr. Murray suggests, then this is a

         welcome change. If not, then the facility should make this change.

40.      Pre-Release Testing: In my opening report, I recommended that CAFCC should consider

         whether it is feasible to provide a routine release quarantine to all detained people with

         known release or transfer dates, and that at a minimum, it should provide testing to all

         detained people leaving the facility.

41.      Dr. Murray does not set out any opinion disagreeing that people should be offered tests

         before release to the community. Instead, Dr. Murray states that approximately half of

         people who are released to the community are released directly from court, and that those

         people are offered tests before leaving the facility for court.63 Dr. Murray also states that

         the other half of people who are released to the community (those on a B&B) receive a

         test before being released.64 These statements conflict with the evidence in the case,

         which shows that no people released directly from the facility receive tests.65 If the

         facility has changed its protocols to adopt my suggestion after the depositions in this case

         were taken, then I applaud this change. If not, then it should make this change. The

         updated CDC guidelines clearly reference testing before transfer and release as one of the

         recommended practices when enhanced measures are in place, and a reasonable approach



61
   Murray Report, 26.
62
   Rose Deposition, 79:2-6.
63
   Murray Report, 26.
64
   Murray Report, 26.
65
   Rose Deposition, 104:23-105:5.
                                                   27
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         I have seen elsewhere is to simply conduct testing before court appearances, as well as

         before planned releases and other movements.

42.      Dr. Murray also states that CAFCC considered the creation up a pre-release quarantine

         unit but decided against it for logistical reasons.66 He does not explain the source of this

         information or whether he did any investigation to validate these concerns. I therefore

         continue to believe that that CAFCC may benefit from thoroughly considering a pre-

         release quarantine.67

43.      Contact Tracing: In my opening report, I recommended that CAFCC expand its contact-

         tracing efforts for staff positives to determine whether the positive staff member had any

         close contacts with detained people.68 Dr. Murray does not offer an opinion on whether

         this is a necessary measure. Dr. Murray instead explains that CAFCC staff determined

         not to trace staff contacts with detained people because the “immense size of the facility”

         made it difficult to do so.69 I disagree with CAFCC’s reasoning for deciding against

         doing this contact tracing. The fact that the facility is large does not excuse it from

         complying with basic standards of healthcare. In fact, some standards such as contact

         tracing become more important in a large facility where a single staff member can

         potentially spread the disease through multiple units.




66
   Murray Report, 27.
67
   Murray Report, 27.
68
   Opening Report, 25.
69
   Murray Report, 27.
                                                   28
  Case 2:20-cv-00901-DJH-DMF Document 189-1 Filed 08/05/22 Page 73 of 76




     Executed this 27th day of May, 2022 in Port Washington, NY

     Signed,




HOMER VENTERS, M.D., M.S




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               EXHIBIT 3
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                                                                      Federal Register / Vol. 73, No. 238 / Wednesday, December 10, 2008 / Notices                                            75119

                                             (NIOSH), Department of Health and                       2008, as provided for under 42 U.S.C.                 Program, UIUC, engaged in scientific
                                             Human Services (HHS).                                   7384q(b), the Secretary of HHS                        misconduct in research supported by
                                             ACTION: Notice.                                         designated the following class of                     National Institute of Mental Health
                                                                                                     employees as an addition to the SEC:                  (NIMH), National Institutes of Health
                                             SUMMARY: The Department of Health and                                                                         (NIH), awards R01 MH051569 and F30
                                                                                                        All employees of the Department of Energy
                                             Human Services (HHS) gives notice as                    (DOE), its predecessor agencies, and DOE              MH12558 and National Institute on
                                             required by 42 CFR 83.12(e) of a                        contractors or subcontractors who worked at           Aging (NIA), NIH, award R01 AG06246.
                                             decision to evaluate a petition to                      the Connecticut Aircraft Nuclear Engine                  Specifically, PHS found that the
                                             designate a class of employees at the                   Laboratory in Middletown, CT, from January            Respondent committed misconduct in
                                             Vitro Manufacturing in Canonsburg,                      1, 1958 through December 31, 1965 for a               science:
                                             Pennsylvania, to be included in the                     number of work days aggregating at least 250             • By intentionally and knowingly
                                             Special Exposure Cohort under the                       work days occurring either solely under this          preparing and including duplicate
                                             Energy Employees Occupational Illness                   employment or in combination with work                image data in Figures 5 and 10 of PHS
                                                                                                     days within the parameters established for            fellowship application F31 MH12558,
                                             Compensation Program Act of 2000. The
                                                                                                     one or more other classes of employees in the
                                             initial proposed definition for the class                                                                     ‘‘Neurodegeneration via TNF-alpha
                                                                                                     Special Exposure Cohort.
                                             being evaluated, subject to revision as                                                                       inhibition of IGF–1,’’ submitted in 1999,
                                             warranted by the evaluation, is as                        This designation became effective on                which was funded as F30 MH12558
                                             follows:                                                November 23, 2008, as provided for                    from June 1, 2000, to May 31, 2003.
                                               Facility: Vitro Manufacturing.                        under 42 U.S.C. 7384l(14)(C). Hence,                  Because the duplicate data were labeled
                                               Location: Canonsburg, Pennsylvania.                   beginning on November 23, 2008,                       as having been obtained from different
                                               Job Titles and/or Job Duties: All                     members of this class of employees,                   experiments, the results for at least one
                                             Atomic Weapons Employer employees.                      defined as reported in this notice,                   of the two figures were intentionally
                                               Period of Employment: August 13,                      became members of the Special                         falsified and constitute an act of
                                             1942 through December 31, 1957.                         Exposure Cohort.                                      scientific misconduct.
                                             FOR FURTHER INFORMATION CONTACT:                        FOR FURTHER INFORMATION CONTACT:                         • By intentionally and knowingly
                                             Larry Elliott, Director, Office of                      Larry Elliott, Director, Office of                    preparing and including duplicate
                                             Compensation Analysis and Support,                      Compensation Analysis and Support,                    image data in Figure 3 and/or 4 of a
                                             National Institute for Occupational                     National Institute for Occupational                   manuscript submitted and published as:
                                             Safety and Health (NIOSH), 4676                         Safety and Health (NIOSH), 4676                       Venters, H.D., et al. ‘‘A New Mechanism
                                             Columbia Parkway, MS C–46,                              Columbia Parkway, MS C–46,                            of Neurodegeneration: A
                                             Cincinnati, OH 45226, Telephone 513–                    Cincinnati, OH 45226, Telephone 513–                  Proinflammatory Cytokine Inhibits
                                             533–6800 (this is not a toll-free                       533–6800 (this is not a toll-free                     Receptor Signaling by a Survival
                                             number). Information requests can also                  number). Information requests can also                Peptide.’’ Proceedings of the National
                                             be submitted by e-mail to                               be submitted by e-mail to                             Academy of Sciences U.S.A. 96:9879–
                                             OCAS@CDC.GOV.                                           OCAS@CDC.GOV.                                         9884, 1999.
                                                                                                                                                              • By preparing and providing to his
                                               Dated: December 4, 2008.                                Dated: December 5, 2008.                            dissertation committee in March 2000 a
                                             Christine M. Branche,                                   Christine M. Branche,                                 thesis proposal entitled ‘‘An Alternate
                                             Acting Director, National Institute for                 Acting Director, National Institute for               Mechanism of Neurodegeneration:
                                             Occupational Safety and Health.                         Occupational Safety and Health.                       Silencing of Insulin-like Growth Factor-
                                             [FR Doc. E8–29244 Filed 12–9–08; 8:45 am]               [FR Doc. E8–29246 Filed 12–9–08; 8:45 am]             I survival signals by Tumor Necrosis
                                             BILLING CODE 4163–19–P                                  BILLING CODE 4163–19–P                                Factor-a,’’ which contained five falsified
                                                                                                                                                           figures: Figures 1.3, 1.4a, 2.1b, 2.3e, and
                                                                                                                                                           2.5b. In each figure, he reused data
                                             DEPARTMENT OF HEALTH AND                                DEPARTMENT OF HEALTH AND                              within the same figure or in another
                                             HUMAN SERVICES                                          HUMAN SERVICES                                        thesis proposal figure as representing
                                                                                                                                                           differently treated samples or as data
                                             National Institute for Occupational                     Office of the Secretary                               obtained with different immunoblotting
                                             Safety and Health                                                                                             antisera.
                                                                                                     Findings of Scientific Misconduct
                                                                                                                                                              • In March and April 2001,
                                             Final Effect of Designation of a Class
                                                                                                     AGENCY: Office of the Secretary, HHS.                 Respondent included several of the
                                             of Employees for Addition to the
                                                                                                     ACTION: Notice.                                       same falsified figures as in the thesis
                                             Special Exposure Cohort
                                                                                                                                                           proposal and multiple additional
                                             AGENCY: Centers for Disease Control and                 SUMMARY: Notice is hereby given that                  falsified figures in his dissertation
                                             Prevention (CDC), Department of Health                  the Office of Research Integrity (ORI)                ‘‘Silencing of Insulin-like Growth Factor
                                             and Human Services (HHS).                               and the Assistant Secretary for Health                I Neuronal Survival Signals by Tumor
                                             ACTION: Notice.                                         have taken final action in the following              Necrosis Factor-a.’’ In all, Figures 3.3,
                                                                                                     case:                                                 3.4a, 3.4b, 4.1b, 4.3a, 4.5b, 5.1a, 5.2,
                                             SUMMARY: The Department of Health and                     Homer D. Venters, Jr., M.D.,                        5.4a, 5.5a, 5.6a, 5.7a, and 5.8a were
                                             Human Services (HHS) gives notice                       University of Illinois at Urbana-                     falsified. In each instance, he assembled
                                             concerning the final effect of the HHS                  Champaign: Based on the report of an                  figures by reusing significant data, on
                                             decision to designate a class of                        investigation conducted by the                        some occasions after manipulating the
                                             employees at Connecticut Aircraft                       University of Illinois at Urbana-                     orientation of the data, either within the
mstockstill on PROD1PC66 with NOTICES




                                             Nuclear Engine Laboratory in                            Champaign (UIUC) and extensive                        same figure or in other figures related to
                                             Middletown, Connecticut, as an                          additional image analysis conducted by                his thesis and represented the data
                                             addition to the Special Exposure Cohort                 the Office of Research Integrity (ORI),               falsely as coming from different samples
                                             (SEC) under the Energy Employees                        the U.S. Public Health Service (PHS)                  or different experiments.
                                             Occupational Illness Compensation                       found that Dr. Homer D. Venters, former                  Dr. Venters has entered into a
                                             Program Act of 2000. On October 24,                     graduate student, Neuroscience                        Voluntary Settlement Agreement


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                                                             Case 2:20-cv-00901-DJH-DMF Document 189-1 Filed 08/05/22 Page 76 of 76
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                                             (Agreement) in which he has voluntarily                                Academy of Sciences 96:9879–9884,                           Proposed Project: Health Centers
                                             agreed, for a period of three (3) years,                               1999.                                                       Patient Survey—(NEW)
                                             beginning on November 19, 2008:                                        FOR FURTHER INFORMATION CONTACT:
                                               (1) That any institution that submits                                                                                               The Health Center program supports
                                                                                                                    Director, Division of Investigative                         Community Health Centers (CHCs),
                                             an application for PHS support for a                                   Oversight, Office of Research Integrity,
                                             research project on which the                                                                                                      Migrant Health Centers (MHCs), Health
                                                                                                                    1101 Wootton Parkway, Suite 750,                            Care for the Homeless (HCH) projects,
                                             Respondent’s participation is proposed                                 Rockville, MD 20852, (240) 453–8800.
                                             or that uses the Respondent in any                                                                                                 and Public Housing Primary Care
                                             capacity on PHS-supported research, or                                 Chris B. Pascal,                                            (PHPC) programs. Health Centers (HCs)
                                             that submits a report of PHS-funded                                    Director, Office of Research Integrity.                     receive grants from HRSA to provide
                                             research in which the Respondent is                                    [FR Doc. E8–29203 Filed 12–9–08; 8:45 am]                   primary and preventive health care
                                             involved, must concurrently submit a                                   BILLING CODE 4150–31–P
                                                                                                                                                                                services to medically underserved
                                             plan for monitoring of the Respondent’s                                                                                            populations.
                                             research to the funding agency and ORI                                                                                                The proposed Patient Survey will
                                             for approval; the monitoring plan must                                 DEPARTMENT OF HEALTH AND                                    collect in-depth information about HC
                                             be designed to ensure the scientific                                   HUMAN SERVICES                                              patients, their health status, the reasons
                                             integrity of the Respondent’s research                                                                                             they seek care at HCs, their diagnoses,
                                                                                                                    Health Resources And Services                               the services they utilize at HCs and
                                             contribution; Respondent agreed that he
                                                                                                                    Administration                                              elsewhere, the quality of those services,
                                             will not participate in any PHS-
                                             supported research until such a                                        Agency Information Collection                               and their satisfaction with the care they
                                             monitoring plan is submitted to ORI and                                Activities: Proposed Collection:                            receive, through personal interviews of
                                             the funding agency;                                                    Comment Request                                             a stratified random sample of HC
                                               (2) That Respondent will ensure that                                                                                             patients. Interviews are planned to take
                                             any institution employing him will                                        In compliance with the requirement                       approximately 1 hour and six minutes
                                             submit to ORI, in conjunction with each                                for opportunity for public comment on                       each.
                                             application for PHS funds or report,                                   proposed data collection projects                              The Patient Survey builds on previous
                                             manuscript, or abstract of PHS-funded                                  (section 3506(c)(2)(A) of Title 44, United                  periodic User-Visit Surveys which were
                                             research in which the Respondent is                                    States Code, as amended by the                              conducted to learn about the process
                                             involved, a certification that the data                                Paperwork Reduction Act of 1995, Pub.                       and outcomes of care in CHCs and HCH
                                             provided by the Respondent are based                                   L. 104–13), the Health Resources and                        projects. The original questionnaires
                                             on actual experiments or are otherwise                                 Services Administration (HRSA)                              were derived from the National Health
                                             legitimately derived, and that the data                                publishes periodic summaries of                             Interview Survey (NHIS) and the
                                             analyses, procedures, and methodology                                  proposed projects being developed for
                                                                                                                                                                                National Hospital Ambulatory Medical
                                             are accurately reported in the                                         submission to OMB under the
                                                                                                                                                                                Care Survey (NHAMCS) conducted by
                                             application or report; Respondent must                                 Paperwork Reduction Act of 1995. To
                                                                                                                                                                                the National Center for Health Statistics
                                                                                                                    request more information on the
                                             ensure that the institution sends a copy                                                                                           (NCHS). Conformance with the NHIS
                                                                                                                    proposed project or to obtain a copy of
                                             of each certification to ORI; and                                                                                                  and NHAMCS allowed comparisons
                                                                                                                    the data collection plans and draft
                                               (3) To exclude himself from serving in                                                                                           between these NCHS surveys and the
                                                                                                                    instruments, call the HRSA Reports
                                             any advisory capacity to PHS, including                                                                                            previous CHC and HCH User-Visit
                                                                                                                    Clearance Officer on (301) 443–1129.
                                             but not limited to service on any PHS                                     Comments are invited on: (a) Whether                     Surveys. The new Patient Survey was
                                             advisory committee, board, and/or peer                                 the proposed collection of information                      developed using a questionnaire
                                             review committee, or as a consultant or                                is necessary for the proper performance                     methodology similar to that used in the
                                             contractor to PHS.                                                     of the functions of the agency, including                   past, and will also potentially allow
                                               Respondent also voluntarily agreed                                   whether the information shall have                          some longitudinal comparisons for
                                             that within 30 days of the effective date                              practical utility; (b) the accuracy of the                  CHCs and HCH projects with the
                                             of this Agreement:                                                     agency’s estimate of the burden of the                      previous User-Visit survey data,
                                               (4) He will submit a letter to the                                   proposed collection of information; (c)                     including monitoring of process
                                             journal editor, with copies to his                                     ways to enhance the quality, utility, and                   outcomes over time. In addition, this
                                             coauthors, identifying his falsification of                            clarity of the information to be                            survey will include interviews of
                                             Figures 3 and/or 4 in the following                                    collected; and (d) ways to minimize the                     patients drawn from migrant
                                             article: Venters et al. ‘‘A New                                        burden of the collection of information                     populations and from residents of
                                             Mechanism of Neurodegeneration: A                                      on respondents, including through the                       public housing, populations not
                                             Proinflammatory Cytokine Inhibits                                      use of automated collection techniques                      included in the previous surveys.
                                             Receptor Signaling by a Survival                                       or other forms of information                                  The estimated response burden for the
                                             Peptide.’’ Proceedings of the National                                 technology.                                                 survey is as follows:

                                                                                                                                        SURVEY
                                                                                                                                                                                              Burden per
                                                                                                                      Number of            Responses                   Total number of                                    Total hour
                                                  Type of respondent; activity involved                                                                                                        response
                                                                                                                     respondents         per respondent                  responses                                         burden
                                                                                                                                                                                                (hours)

                                             Grantee/Site Recruitment and Site Training ..                                      115                              3                 345                        3.75                1294
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                                             Patient Recruitment ........................................                      5658                              1                5658                         .167                945
                                             Patient Survey 4526 .......................................                       4526                              1                4526                        1.1                 4979

                                                  Total .........................................................              5773     ............................            10529    ..............................           7218




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